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16
   Attorneys for Plaintiffs AbCellera Biologics Inc.
17 and The University of British Columbia
18
                            UNITED STATES DISTRICT COURT
19                        NORTHERN DISTRICT OF CALIFORNIA
                                 OAKLAND DIVISION
20
   ABCELLERA BIOLOGICS INC. AND THE           Case No. 4:20-cv-08624-JST
21 UNIVERSITY OF BRITISH COLUMBIA,            (consolidated)
22                     Plaintiffs,            AMENDED AND CONSOLIDATED
                                              COMPLAINT FOR PATENT
23        v.                                  INFRINGEMENT
24 BRUKER CELLULAR ANALYSIS, INC.
   F/K/A BERKELEY LIGHTS, INC.,
25
                   Defendant.
26
27
28

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 1          Plaintiffs AbCellera Biologics Inc. (“AbCellera”) and The University of British Columbia
 2 (“UBC”) (collectively, “Plaintiffs”), hereby demand a jury trial and allege the following against
 3
     Defendant Bruker Cellular Analysis, Inc., formerly known as Berkeley Lights, Inc. and PhenomeX
 4
     Inc. (collectively, “Defendant”)1:
 5
                                             NATURE OF ACTION
 6
            1.      This is an action for patent infringement arising under the Patent Laws of the
 7
     United States, 35 U.S.C. § 1, et seq.
 8
 9          2.      Plaintiffs have filed this lawsuit to stop Defendant’s unlawful infringement of

10 Plaintiffs’ patented inventions and to obtain damages, an injunction, and other relief.
11                                             THE PARTIES
12          3.      AbCellera Biologics Inc. is a corporation organized and existing under the laws of
13
     British Columbia, Canada with its principal place of business located 2215 Yukon Street
14
     Vancouver, BC V5Y 0A1.
15
            4.      The University of British Columbia is a corporation continued under the University
16
17 Act of British Columbia with offices at #103-6190 Agronomy Road, Vancouver, British
18 Columbia, V6T 123.
19          5.      On information and belief, Bruker Cellular Analysis, Inc. is incorporated under the
20 laws of the State of Delaware, and has a place of business at 5980 Horton Street, Second Floor,
21
     Emeryville, CA 94608.
22
            6.      On information and belief, Bruker Cellular Analysis, Inc. is formerly known as
23
     Berkeley Lights, Inc. and PhenomeX Inc.
24
25
26
27   1
     Berkeley Lights, Inc., PhenomeX Inc., and Bruker Cellular Analysis, Inc. are collectively referred to
28 as “Defendant” herein.

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 1          7.      On information and belief, Berkeley Lights, Inc. was a corporation incorporated
 2 under the laws of the State of Delaware, and had a principal place of business at 5858 Horton
 3
     Street, Emeryville, CA 94608.
 4
            8.      On information and belief, in or around March 2023, Berkeley Lights, Inc. merged
 5
     with IsoPlexis, Inc. and became PhenomeX Inc. On information and belief, on March 21, 2023,
 6
     pursuant to an Amended and Restated Certificate of Incorporation, Berkeley Lights, Inc. changed
 7
 8 its corporate name from Berkeley Lights, Inc. to PhenomeX Inc. See D.I. 161.
 9          9.      On information and belief, on October 2, 2023, Bruker Corporation acquired

10 PhenomeX Inc., which then changed its corporate name to Bruker Cellular Analysis, Inc.,
11
     pursuant to an Amended and Restated Certificate of Incorporation. See D.I. 161.
12
                                      JURISDICTION AND VENUE
13
            10.     This is an action for patent infringement arising under the patent laws of the United
14
     States of America, 35 U.S.C. § 1, et seq., including 35 U.S.C. § 271. This Court has exclusive
15
16 subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
17          11.     This Court has personal jurisdiction over Defendant for at least the following

18 reasons.
19          12.     Defendant has consented to personal jurisdiction in this Court, at least because
20
     Defendant sought, and succeeded in, transferring this litigation from the District of Delaware to
21
     the Northern District of California. See, e.g., AbCellera Biologics Inc. v. Berkeley Lights, Inc.,
22
     No. 20-cv-00931, D.I. 13 (D. Del. Sept. 15, 2020) (Defendant’s motion to transfer); AbCellera
23
24 Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-00931, D.I. 35 (D. Del. Dec. 7, 2020) (order
25 transferring case); AbCellera Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-01116, D.I. 12 (D.
26 Del. Sept. 15, 2020) (Defendant’s motion to transfer); AbCellera Biologics Inc. v. Berkeley Lights,
27
     Inc., No. 20-cv-01116, D.I. 34 (D. Del. Dec. 7, 2020) (order transferring case); AbCellera
28

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 1 Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-01230, D.I. 9 (D. Del. Sept. 29, 2020)
 2 (Stipulation and Order re motion to transfer); AbCellera Biologics Inc. v. Berkeley Lights, Inc.,
 3
     No. 20-cv-01230, D.I. 26 (D. Del. Dec. 7, 2020) (order transferring case).
 4
            13.     Defendant has asserted counterclaims in this litigation. See, e.g., AbCellera
 5
     Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-00931, D.I. 17 (D. Del. Sept. 15, 2020);
 6
     AbCellera Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-01116, D.I. 16 (D. Del. Sept. 18,
 7
 8 2020); AbCellera Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-01230, D.I. 10 (D. Del. Oct. 8,
 9 2020). Since the transfer of this litigation to the Northern District of California in December
10 2020, Defendant litigated its counterclaims in this Court.
11
            14.     With its successful motions to transfer and its assertion of counterclaims in this
12
     Court, Defendant has waived any argument to contest this Court’s personal jurisdiction over
13
     Defendant. Defendant has purposefully availed itself of the rights, benefits, and privileges of
14
15 California, including by successfully transferring the litigation to this Court and asserting
16 counterclaims in this Court.
17          15.     In addition, on information and belief, Defendant maintains headquarters at 5980
18 Horton Street, Second Floor, Emeryville, CA 94608. For example, on Defendant’s company
19
     website, https://brukercellularanalysis.com/contact-us/, Defendant lists 5980 Horton Street,
20
     Second Floor, Emeryville, CA 94608, as the address for “Bruker Cellular Analysis HQ.”
21
            16.     Venue is proper in this Court, at least because Defendant sought, and succeeded in,
22
23 transferring this litigation from the District of Delaware to the Northern District of California.
24 See, e.g., AbCellera Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-00931, D.I. 13 (D. Del.
25 Sept. 15, 2020) (Defendant’s motion to transfer); AbCellera Biologics Inc. v. Berkeley Lights, Inc.,
26
     No. 20-cv-00931, D.I. 35 (D. Del. Dec. 7, 2020) (order transferring case); AbCellera Biologics
27
     Inc. v. Berkeley Lights, Inc., No. 20-cv-01116, D.I. 12 (D. Del. Sept. 15, 2020) (Defendant’s
28

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 1 motion to transfer); AbCellera Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-01116, D.I. 34
 2 (D. Del. Dec. 7, 2020) (order transferring case); AbCellera Biologics Inc. v. Berkeley Lights, Inc.,
 3
     No. 20-cv-01230, D.I. 9 (D. Del. Sept. 29, 2020) (Stipulation and Order re motion to transfer);
 4
     AbCellera Biologics Inc. v. Berkeley Lights, Inc., No. 20-cv-01230, D.I. 26 (D. Del. Dec. 7, 2020)
 5
     (order transferring case). Defendant has waived any argument to contest venue in this District.
 6
            17.     Venue is also proper in this Court under 28 U.S.C. § 1400(b) because Defendant
 7
 8 has committed acts of infringement in this District and has a regular and established place of
 9 business at 5980 Horton Street, Second Floor, Emeryville, CA 94608 .
10                                     FACTUAL BACKGROUND
11                                        AbCellera’s Technology
12          18.     AbCellera is a biotechnology company with a pioneering and proprietary drug
13
     discovery platform that searches and analyzes natural immune systems to find antibodies that can
14
     be used to prevent and treat disease. AbCellera’s technology, which combines high-throughput
15
     microfluidics, hyper-scale data science, machine learning, bioinformatics, and genomics, identifies
16
17 new first-in-class drugs and significantly reduces the time it takes to bring treatments to the clinic.
18          19.     Plaintiffs developed and patented the use of microfluidic devices for high-

19 throughput single-cell secretion assays that can be applied to antibody discovery and cell clone
20 selection. These include assays such as live-cell binding, specificity, cross-reactivity, affinity,
21
     receptor blocking and function. Plaintiffs have also developed and patented methods for isolating
22
     the sequences of an antibody that reacts with a disease related antigen and to identify an antigen
23
     that mediates a disease state. This groundbreaking technology allows for the screening and
24
25 analysis of millions of B cells on an individual, cell-by-cell, basis to identify antibodies with rare
26 therapeutic properties. AbCellera recently demonstrated its market leading efforts by discovering
27 the first antibody against COVID-19 that was the first antibody to enter human clinical trials
28

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 1 anywhere in the world. AbCellera’s technology enabled the discovery and first dose of a
 2 therapeutic antibody in less than ninety days.
 3
                                            The Patents-in-Suit
 4
            20.     On October 23, 2018, the United States Patent and Trademark Office (“the
 5
     USPTO”) duly and legally issued U.S. Patent No. 10,107,812 (“the ’812 patent”), titled “ Methods
 6
     for assaying cellular binding interactions.” The inventors of the ’812 patent are Anupam Singhal,
 7
     Carl L. G. Hansen, John W. Schrader, Charles A. Haynes, and Daniel J. Da Costa. UBC is the
 8
 9 assignee of the ’812 patent. AbCellera is the exclusive licensee of the ’812 patent with the right to
10 sue for past and present infringement and to collect damages. A true and accurate copy of the
11 ’812 patent is attached hereto as Exhibit 1.
12
            21.     On April 30, 2019, the USPTO duly and legally issued U.S. Patent No. 10,274,494
13
     (“the ’494 patent”), titled “Methods for assaying cellular binding interactions.” The inventors of
14
     the ’494 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles A. Haynes,
15
16 and Daniel J. Da Costa. UBC is the assignee of the ’494 patent. AbCellera is the exclusive
17 licensee of the ’494 patent with the right to sue for past and present infringement and to collect
18 damages. A true and accurate copy of the ’494 patent is attached hereto as Exhibit 2.
19          22.     On November 5, 2019, the USPTO duly and legally issued U.S. Patent No.
20
     10,466,241 (“the ’241 patent”), titled “Methods for assaying cellular binding interactions.” The
21
     inventors of the ’241 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles
22
     A. Haynes, and Daniel J. Da Costa. UBC is the assignee of the ’241 patent. AbCellera is the
23
24 exclusive licensee of the ’241 patent with the right to sue for past and present infringement and to
25 collect damages. A true and accurate copy of the ’241 patent is attached hereto as Exhibit 3.
26          23.     On March 3, 2020, the USPTO duly and legally issued U.S. Patent No. 10,578,618
27
     (“the ’618 patent”), titled “Methods for assaying cellular binding interactions.” The inventors of
28

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 1 the ’618 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles A. Haynes,
 2 and Daniel J. Da Costa. UBC is the assignee of the ’618 patent. AbCellera is the exclusive
 3
     licensee of the ’618 patent with the right to sue for past and present infringement and to collect
 4
     damages. A true and accurate copy of the ’618 patent is attached hereto as Exhibit 4.
 5
            24.     On June 30, 2020, the USPTO duly and legally issued U.S. Patent No. 10,697,962
 6
     (“the ’962 patent”), titled “Methods for assaying cellular binding interactions.” The inventors of
 7
 8 the ’962 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charle s A. Haynes,
 9 and Daniel J. Da Costa. UBC is the assignee of the ’962 patent. AbCellera is the exclusive
10 licensee of the ’962 patent with the right to sue for past and present infringement and to collect
11
     damages. A true and accurate copy of the ’962 patent is attached hereto as Exhibit 5.
12
            25.     On October 2, 2018, the USPTO duly and legally issued U.S. Patent No.
13
     10,087,408 (“the ’408 patent”), titled “System and method for microfluidic cell culture.” The
14
15 inventors of the ’408 patent are Carl L. G. Hansen, Veronique Lecault, James M. Piret, and
16 Anupam Singhal. UBC is the assignee of the ’408 patent. AbCellera is the exclusive licensee of
17 the ’408 patent with the right to sue for past and present infringement and to collect damages. A
18 true and accurate copy of the ’408 patent is attached hereto as Exhibit 6.
19
            26.     On September 24, 2019, the USPTO duly and legally issued U.S. Patent No.
20
     10,421,936 (“the ’936 patent”), titled “System and method for microfluidic cell culture.” The
21
     inventors of the ’936 patent are Carl L. G. Hansen, Veronique Lecault, James M. Piret, and
22
23 Anupam Singhal. UBC is the assignee of the ’936 patent. AbCellera is the exclusive licensee of
24 the ’936 patent with the right to sue for past and present infringement and to collect damages. A
25 true and accurate copy of the ’936 patent is attached hereto as Exhibit 7.
26
            27.     On July 7, 2020, the USPTO duly and legally issued U.S. Patent No. 10,704,018
27
     (“the ’018 patent”), titled “System and method for microfluidic cell culture.” The inventors of the
28

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 1 ’018 patent are Carl L. G. Hansen, Veronique Lecault, James M. Piret, and Anupam Singhal.
 2 UBC is the assignee of the ’018 patent. AbCellera is the exclusive licensee of the ’018 patent with
 3
     the right to sue for past and present infringement and to collect damages. A true and accurate
 4
     copy of the ’018 patent is attached hereto as Exhibit 8.
 5
            28.     On September 15, 2020, the USPTO duly and legally issued U.S. Patent No.
 6
     10,775,376 (“the ’376 patent”), titled “Methods for assaying cellular binding interactions.” The
 7
 8 inventors of the ’376 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles
 9 A. Haynes, and Daniel J. Da Costa. UBC is the assignee of the ’376 patent. AbCellera is the
10 exclusive licensee of the ’376 patent with the right to sue for past and present infringement and to
11
     collect damages. A true and accurate copy of the ’376 patent is attached hereto as Exhibit 9.
12
            29.     On September 15, 2020, the USPTO duly and legally issued U.S. Patent No.
13
     10,775,377 (“the ’377 patent”), titled “Methods for assaying cellular binding interactions.” The
14
15 inventors of the ’377 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles
16 A. Haynes, and Daniel J. Da Costa. UBC is the assignee of the ’377 patent. AbCellera is the
17 exclusive licensee of the ’377 patent with the right to sue for past and present infringement and to
18 collect damages. A true and accurate copy of the ’377 patent is attached hereto as Exhibit 10.
19
            30.     On September 15, 2020, the USPTO duly and legally issued U.S. Patent No.
20
     10,775,378 (“the ’378 patent”), titled “Methods for assaying cellular binding interactions.” The
21
     inventors of the ’378 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles
22
23 A. Haynes, and Daniel J. Da Costa. UBC is the assignee of the ’378 patent. AbCellera is the
24 exclusive licensee of the ’378 patent with the right to sue for past and present infringement and to
25 collect damages. A true and accurate copy of the ’378 patent is attached hereto as Exhibit 11.
26
            31.     On July 21, 2020, the USPTO duly and legally issued U.S. Patent No. 10,718,768 (“the
27
     ’768 patent”), titled “Methods for assaying cellular binding interactions.” The inventors of the ’768
28

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 1 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles A. Haynes, and Daniel J.
 2 Da Costa. UBC is the assignee of the ’768 patent. AbCellera is the exclusive licensee of the ’768
 3
     patent with the right to sue for past and present infringement and to collect damages. A true and
 4
     accurate copy of the ’768 patent is attached hereto as Exhibit 12.
 5
            32.     On August 11, 2020, the USPTO duly and legally issued U.S. Patent No. 10,738,270
 6
     (“the ’270 patent”), titled “System and method for microfluidic cell culture.” The inventors of the
 7
 8 ’270 patent are Carl L. G. Hansen, Veronique Lecault, James M. Piret, and Anupam Singhal. UBC is
 9 the assignee of the ’270 patent. AbCellera is the exclusive licensee of the ’270 patent with the right to
10 sue for past and present infringement and to collect damages. A true and accurate copy of the ’270
11
     patent is attached hereto as Exhibit 13.
12
            33.     On August 18, 2020, the USPTO duly and legally issued U.S. Patent No. 10,746,737
13
     (“the ’737 patent”), titled “Methods for assaying cellular binding interactions.” The inventors of the
14
15 ’737 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles A. Haynes, and
16 Daniel J. Da Costa. UBC is the assignee of the ’737 patent. AbCellera is the exclusive licensee of the
17 ’737 patent with the right to sue for past and present infringement and to collect damages. A true and
18 accurate copy of the ’737 patent is attached hereto as Exhibit 14.
19
            34.     On August 25, 2020, the USPTO duly and legally issued U.S. Patent No.
20
     10,753,933 (“the ’933 patent”), titled “Methods for assaying cellular binding interactions.” The
21
     inventors of the ’933 patent are Anupam Singhal, Carl L. G. Hansen, John W. Schrader, Charles
22
23 A. Haynes, and Daniel J. Da Costa. UBC is the assignee of the ’933 patent. AbCellera is the
24 exclusive licensee of the ’933 patent with the right to sue for past and present infringement and to
25 collect damages. A true and accurate copy of the ’933 patent is attached hereto as Exhibit 15.
26
            35.     The ’812 patent, the ’494 patent, the ’241 patent, the ’618 patent, the ’962 p atent,
27
     the ’408 patent, the ’936 patent, the ’018 patent, the ’376 patent, the ’377 patent, the ’378 patent,
28

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 1 the ’768 patent, the ’270 patent, the ’737 patent, and the ’933 patent are collectively referred to as
 2 the “Patents-in-Suit.”
 3
                                 Defendant’s Accused Products and Services
 4
            36.     On information and belief, Defendant sells and manufactures products, and
 5
     provides services, related to the “[d]iscovery of cellular therapies, biopharmaceuticals, and other
 6
     cell-based products.” (https://www.berkeleylights.com/ (last visited October 18, 2023), a true and
 7
     correct copy is attached as Exhibit 16.) On its website, Defendant states that its technology allows
 8
 9 for individual cells to be:
10                  isolated, cultured, assayed and exported. Each cell or clone is imaged
                    and monitored in real-time in a NanoPen™ chamber on our
11                  OptoSelect™ chips to provide rich visual data early and often. Our full
                    platform and software suite deliver cell processing and deep profiling
12                  with more information about cell function than any other technology.
13 (https://www.berkeleylights.com/technology/ (last visited October 18, 2023), a true and correct
14 copy is attached as Exhibit 17.)
15
            37.     On information and belief, Defendant sells the Beacon® Optofluidic System along
16
     with associated technology and provides services utilizing the Beacon® Optofluidic System
17
     (collectively “the Beacon®”). The Beacon® is an automated system that can be used for antibody
18
19 discovery, cell line development, synthetic biology, and cell therapy development workflows.
20 (https://www.berkeleylights.com/systems/beacon/ (last visited October 18, 2023), a true and
21 correct copy is attached as Exhibit 18.) Defendant has also referred to the Beacon® products and
22 services as “the Berkeley Lights Platform,” which “is comprised of OptoSelect chips and reagent
23
     kits, advanced automation systems and advanced application and workflow software.” See, e.g.,
24
     Berkeley Lights, Inc. 10-k for year ending Dec. 31, 2022 at 2, 4-7
25
     (https://www.sec.gov/ix?doc=/Archives/edgar/data/1689657/000168965723000009/bli-
26
27 20221231.htm (last visited October 18, 2023), a true and correct copy is attached as Exhibit 19).
28 On information and belief, the image below illustrates the Beacon®.

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14
            38.     On information and belief, beginning in 2023, Defendant launched and has begun
15
16 to sell two additional Beacon devices—the Beacon Select and the Beacon Quest. (See, e.g.,
17 https://www.prnewswire.com/news-releases/berkeley-lights-launches-beacon-select-a-new-
18 optofluidic-system-for-cell-line-development-301716821.html (last visited October 18, 2023), a
19
     true and correct copy is attached as Exhibit 20; https://www.prnewswire.com/news-
20
     releases/phenomex-launches-beacon-quest-optofluidic-system-with-opto-t-cell-profiling-
21
     workflows-301842270.html (last visited October 18, 2023), a true and correct copy is attached as
22
23 Exhibit 21.)
24          39.     On information and belief, the Beacon Select is a “2-chip single-cell optofluidic

25 instrument for antibody discovery.”
26 (https://brukercellularanalysis.com/products/instruments/beacon-select-optofluidic-system-for-
27
     antibody-discovery/ (last visited October 18, 2023), a true and correct copy is attached as Exhibit
28

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 1 22.) On its website, Defendant represents that the Beacon Select device has “the same
 2 capabilities” as the Beacon® Optofluidic System.
 3
     (https://brukercellularanalysis.com/products/instruments/beacon-select-optofluidic-system/ (last
 4
     visited October 18, 2023), a true and correct copy is attached as Exhibit 23 (“The Beacon
 5
     Select™ is a 2-chip single-cell optofluidic system . . . with the same capabilities as the 4-chip
 6
     Beacon® optofluidic system, which provides well-established workflows that have been adopted
 7
 8 by ~130 customers.”); see also Ex. 20 (“The Beacon Select builds upon the same cutting-edge
 9 technology offered by the original Beacon system launched in 2017 that currently has an installed
10 base of more than 130 systems globally.” (emphasis added)).
11
            40.     On information and belief, the Beacon Quest is an “automated 2-chip optofluidic
12
     system that allows you to run thousands of miniaturized single-cell assays in parallel and then
13
     recover cells of interest.” (https://brukercellularanalysis.com/products/instruments/beacon-quest-
14
15 optofluidic-system/ (last visited October 18, 2023), a true and correct copy is attached as Exhibit
16 24.) On information and belief the Beacon Quest has the same capabilities as the Beacon®
17 Optofluidic System.
18          41.     On information and belief, Defendant sells the Beacon®, Beacon SelectTM, and
19
     Beacon QuestTM for use in its antibody discovery workflow, “The Opto Plasma B Discovery
20
     Workflow.” (https://www.berkeleylights.com/workflows/antibody-discovery/ (last visited
21
     September 16, 2020), a true and correct copy is attached as Exhibit 25; see also Exs. 20-24.)
22
23          42.     Defendant states that using its workflow, “Plasma B cells are screened using

24 binding and functional assays to select only the most qualified antibody lead candidates.” (Id.)
25          43.     Defendant states that “Opto Plasma B Discovery Workflow enables down-selection
26
     of lead candidates through multiple assays for antigen specificity and function.” (Id.) The assays
27
     are illustrated in the image below:
28

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11
12
13
     (Id.)
14
             44.   On information and belief, Defendant sells the Beacon®, Beacon SelectTM, and
15
     Beacon QuestTM for use in additional antibody discovery workflows including “Opto Viral
16
17 Neutralization” workflow, “Opto Memory B Discovery Rabbit” workflow, and “Opto Memory B
18 Discovery Human” workflow. (Ex. 19 at 7.)
19           45.   Defendant also sells the Beacon®, Beacon SelectTM, and Beacon QuestTM for use in
20
     cell line development and cell therapy workflows including through the use of “Opto Cell Line
21
     Development” and “Opto Cell Therapy Development” workflows. (Id.)
22
             46.   On information and belief, the assays are run in NanoPen™ chambers that have a
23
     volume of 250 picoliters. Defendant states the size of the NanoPen™ chambers “means a single
24
25 cell can be isolated and assayed in its own discrete chamber.”
26 (https://www.berkeleylights.com/systems/beacon/ (last visited October 18, 2023), a true and
27 correct copy is attached as Exhibit 18.)
28

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 1          47.    Defendant includes the following visual representation of a NanoPen™ chamber on
 2 its website:
 3
 4
 5
 6
 7
 8
 9
10
            48.    On information and belief, the NanoPen™ chambers are contained on Defendant’s
11
     OptoSelect chips. Defendant states that “each OptoSelect chip contains thousands of NanoPen
12
     chambers.” Defendant states that the NanoPen chambers are “where cells are deposited, where
13
     they grow and where they are characterized using a myriad of proprietary Berkeley Lights assay.”
14
15 (Id.)
16          49.    On information and belief, Defendant sells several types of OptoSelect chips,
17 including the OptoSelect 1750 Chip, OptoSelect 3500 Chip, OptoSelect 1500 Chip, OptoSelect
18
     11k Chip, OptoSelect 14k Chip, and OptoSelect 20k Chip for use in the Beacon®, Beacon
19
     SelectTM, and Beacon QuestTM. (Id.; see also Ex. 19 at 5.) On information and belief, Defendant
20
     also sells reagents and software for use with the Beacon®, Beacon SelectTM, and Beacon QuestTM.
21
22 (Id.)
23          50.    On information and belief, “each nanofluidic chip contains 1758 NanoPen

24 chambers arrayed along four continuous channels. The NanoPens have a narrow opening to the
25 channel for nutrients and cellular waste diffusion.” (Exhibit 26 --Amgen White Paper)
26
     Representative images of the NanoPens on the nanofluidic chips are presented below:
27
28

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 1
 2
 3
 4
 5
 6
 7
 8
 9 (Id.)
10          51.       On information and belief, the following are representative of the commercial
11 OptoSelect chips available for use with the Beacon®, Beacon SelectTM, and Beacon QuestTM:
12
13
14
15
16
17
18
19
     (Ex. 19 at 5.)
20
            52.       On information and belief, the Beacon® provides for “bead and diffusion-based
21
     fluorescent assays can be adapted for scoring secreted antibody on chip. Thus, relative protein
22
     productivity can be established on the instrument and only clones with acceptable productivity can
23
     be selected for export to microtiter plates and scaled-up for further studies. Captured data can then
24
25 [be] combined to document cell growth measurements, proof of clonal origin, single-cell
26 secretion, and overall population compositions.” (Exhibit 27 – 2019 Biotech. Paper.)
27          53.       On information and belief, antibody-secreting cells (“ASCs”) can be
28
     microfluidically imported into the chip and sequestered into individual NanoPens for screening via
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 1 gravity. On information and belief, ASCs that secrete antigen-specific IgG can be detected using a
 2 bead-based, two-color fluorescent binding assay that produces a characteristic fluorescent bloom.
 3
     On information and belief, individual cells of interest can then either be lysed in the NanoPens
 4
     with nucleic acids being captured for further analysis and sequencing or can be removed from the
 5
     NanoPens and exported from the chip directly into 96-well plates containing cell lysis buffer.
 6
     (Exhibit 28- 2019 Winters et al.) On information and belief, the below is a schematic of the
 7
 8 Beacon workflow for antibody-discovery:
 9
10
11
12
13
14
15
16
17
18
19 (Id.)
20          54.     On information and belief, Defendant also sells the Culture Station™ System for
21 use with the Beacon®, Beacon SelectTM, and Beacon QuestTM. Defendant states that:
22
                    The Culture Station lets you transfer up to 4 OptoSelect™ chips to a
23                  culture module with independent media, fluidics and software, and can
                    be seamlessly integrated into Beacon [ ] workflows. Run media
24                  optimization or free up your Beacon [ ] system to run other
                    experiments during culture stages of an experiment. Once culture has
25                  completed, the OptoSelect chips can be moved back to the Beacon [ ]
                    instruments for further analysis. This creates a seamless interface
26                  between systems and increases throughput when cell culture becomes a
                    constraint. Parallel processing of culture while simultaneously running
27                  assays on Beacon [] reduces the product development cycle time and
                    lowers cost, maximizing benefits to the system user. Expand your
28                  Culture Station to include capacity for up to 8 chips by linking 2
                    instruments together on the same computer.
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 1 (https://www.berkeleylights.com/systems/culture-station/ (last visited October 18, 2023), a true
 2 and correct copy is attached as Exhibit 29.)
 3
            55.     On information and belief, Defendant provides instruction and support to customers
 4
     on how to use the Beacon®, Beacon SelectTM, and Beacon QuestTM, and related reagents,
 5
     software, and Culture Station TM System. (https://techsupport.berkeleylights.com/ (last visited
 6
     October 18, 2023), a true and correct copy is attached as Exhibit 30.)
 7
 8          56.     On information and belief, Defendant advertises and promotes the use of the

 9 Beacon®, Beacon SelectTM, and Beacon QuestTM in conjunction with the reagents, software, and
10 Culture Station TM System it also sells. (Id.; see also Exs. 20-24.)
11
            57.     On information and belief, in addition to selling the Beacon®, Beacon SelectTM,
12
     and Beacon QuestTM that embody the technology claimed in the Patents-in-Suit, and related
13
     reagents, software, and culture systems directly to consumers, Defendant also provides services to
14
                                                          TM                 TM
15 customers and partners using the Beacon®, Beacon Select , and Beacon Quest .
16          58.     Defendant makes, uses, offers for sale, sells, and/or imports the Beacon®, Beacon

17 SelectTM, and Beacon QuestTM into the United States. (See e.g.,
18 https://www.berkeleylights.com/systems/beacon/ (last visited October 18, 2023), a true and correct
19
     copy is attached as Exhibit 18; see also Exs. 20-24.) The Beacon®, Beacon SelectTM, and Beacon
20
     QuestTM, and related technologies including the culture systems, chips, kits, and workflows,
21
     together, will be referred to herein as “the Accused Products and Services” going forward.
22
23          59.     Defendant’s activities outlined above, and identified further below, directly and

24 indirectly infringe the Patents-in-Suit.
25                         Correspondence Between AbCellera and Defendant
26          60.     On October 3, 2019, AbCellera wrote to Defendant putting it on notice of
27
     AbCellera’s patent estate concerning microfluidic single cell workflows for antibody discovery
28

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 1 and clone selection, including the ’812 patent, the ’494 patent, the ’408 patent, and the ’936
 2 patent.
 3
              61.   On December 30, 2019, Defendant responded to AbCellera’s October 3 letter, but
 4
     did not dispute that AbCellera’s patent estate, including the aforementioned patents, covered
 5
     Defendant’s activities or the use of the Beacon®.
 6
              62.   On January 28, 2020, AbCellera wrote to Defendant, reiterating the scope of
 7
 8 AbCellera’s patent estate and pointing out that Defendant’s then-employee Dr. Singhal had
 9 publicly discussed the attributes of Defendant’s microfluidic devices, and did not dispute that
10 AbCellera’s patent estate, including the aforementioned patents, covered Defendant’s activities or
11
     the use of the Beacon®. AbCellera pointed out that Dr. Singhal is intimately familiar with
12
     AbCellera and AbCellera’s patent estate as a named inventor on the Patents-in-Suit and former
13
     graduate student of AbCellera’s CEO, Dr. Carl Hansen. Dr. Singhal has assigned all of his rights
14
15 in the Patents-in-Suit which are exclusively licensed to AbCellera. On information and belief, Dr.
16 Singhal also signed a declaration and assignment attesting to the patentability of the Patents-in-
17 Suit and received compensation for his assignment of the Patents-in-Suit. Given his prior role in
18 the development of AbCellera’s inventions and his roles in developing the Beacon® and as the
19
     Product Manager for the Beacon®, his knowledge is attributable to Defendant. AbCellera further
20
     invited Defendant to discuss the content of its letters.
21
              63.   On February 25, 2020, Defendant responded to AbCellera’s January 28 letter
22
23 stating that it did not see any freedom to operate issues, but failed to provide any substantiating
24 details.
25            64.   On April 28, 2020, AbCellera again put Defendant on notice of AbCellera’s patent
26
     estate concerning microfluidic single cell workflows for antibody discovery and clone selection,
27
     including the ’812 patent, the ’494 patent, the ’241 patent, the ’618 patent, the ’408 patent, and the
28

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 1 ’936 patent. AbCellera also explained that Defendant’s marketed single-cell workflows are
 2 covered by AbCellera’s patent estate. AbCellera again invited Defendant to discuss the content of
 3
     its letters.
 4
              65.   Defendant never responded to AbCellera’s April 28 letter.
 5
              66.   On information and belief, Defendant had actual and/or constructive notice of
 6
     AbCellera’s patent estate, including the ’812 patent, the ’494 patent, the ’408 patent, and the ’936
 7
 8 patent, prior to October 3, 2019 based on Dr. Singhal’s knowledge of the prosecution and/or
 9 issuance of the aforementioned patents as a direct result of his role as an inventor of the Patents-
10 in-Suit.
11
                                          COUNT I
12                             INFRINGEMENT OF THE ’812 PATENT

13            67.   The allegations in the preceding paragraphs are incorporated by reference as if fully

14 set forth herein.
15            68.   Defendant has directly infringed, and continues to directly infringe, at least claim 1
16
     of the ’812 patent by making, using, offering for sale, selling, and/or importing the Beacon® into
17
     the United States.
18
              69.   The use of the Accused Products and Services meets every limitation of at least
19
     claim 1 and Defendant directly infringes at least claim 1 when using the Accused Products and
20
21 Services in violation of 35 U.S.C. § 271(a).
22            70.   Claim 1 of the ’812 patent recites:
23                  1. A method of assaying for a binding interaction between a protein secreted by a
24                      cell and a biomolecule, the method comprising:
                    (a) retaining the cell secreting the protein within a chamber having an inlet, an
25                       outlet, and a solid wall defining the chamber, wherein the volume of the
                         chamber is from 100 pL to 100 nL;
26
                    (b) exposing the protein secreted by the cell to a capture substrate, wherein the
27                       capture substrate is in fluid communication with the protein secreted by the
                         cell and wherein the capture substrate is operable to bind the protein secreted
28
                         by the cell to produce a bound protein;
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 1                  (c) flowing a first fluid volume comprising the biomolecule through the inlet into
                         the chamber and out the outlet, wherein the first fluid volume is in fluid
 2                       communication with the capture substrate and the bound protein; and
 3                  (d) measuring a binding interaction between the protein secreted by the cell and the
                         biomolecule.
 4
            71.     On information and belief, the use of the Accused Products and Services includes
 5
 6 assaying for a binding interaction between a protein secreted by a cell and a biomolecule. (See
 7 e.g., ¶¶ 36-59.)
 8          72.     On information and belief, the use of the Accused Products and Services includes
 9 retaining the cell secreting the protein within a chamber having an inlet, an o utlet, and a solid wall
10
     defining the chamber, wherein the volume of the chamber is from 100 pL to 100 nL, or an
11
     equivalent thereof. (See e.g., ¶¶ 36-59.)
12
            73.     On information and belief, the use of the Accused Products and Services includes
13
14 exposing the protein secreted by the cell to a capture substrate, wherein the capture substrate is in
15 fluid communication with the protein secreted by the cell and wherein the capture substrate is
16 operable to bind the protein secreted by the cell to produce a bound protein, o r an equivalent
17
     thereof. (See e.g., ¶¶ 36-59.)
18
            74.     On information and belief, the use of the Accused Products and Services includes
19
     flowing a first fluid volume comprising the biomolecule through the inlet into the chamber and out
20
     the outlet, wherein the first fluid volume is in fluid communication with the capture substrate and
21
22 the bound protein, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
23          75.     On information and belief, the use of the Accused Products and Services includes
24 measuring a binding interaction between the protein secreted by the cell and the biomolecule. (See
25
     e.g., ¶¶ 36-59.)
26
27
28

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 1          76.     Defendant also has indirectly infringed and continues to indirectly infringe the
 2 claims of the ’812 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
 3
     contributing to infringement pursuant to 35 U.S.C. § 271(c).
 4
            77.     On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
 5
     specifically intended to induce infringement of the ’812 patent by its customers and users of the
 6
     Accused Products and Services and had knowledge that its acts would cause infringement or was
 7
 8 willfully blind to the possibility that their inducing acts would cause infringement.
 9          78.     Defendant knew of the ’812 patent at least as of its date of its issuance or earlier by
10 virtue of inventor Singhal. Further, Defendant knew of the ’812 patent since at least as early as
11
     October 3, 2019, when it was identified by AbCellera to Defendant and no later than the original
12
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020)(. On information
13
     and belief, Defendant’s customers directly infringe the ’812 patent.
14
15          79.     On information and belief, Defendant specifically intends for customers to infringe

16 the ’812 patent. Defendant encourages infringement by customers at least by offering to sell and
17 selling the Beacon® and providing instructions to users on how to use the Accused Products and
18 Services, which directly infringe the ’812 patent.
19
            80.     On information and belief, despite Defendant’s knowledge of the ’812 patent and
20
     knowledge that customers will necessarily infringe the ’812 patent when the Accused Products
21
     and Services are used as instructed, Defendant continues to encourage infringement.
22
23          81.     Defendant also contributes to infringement of the ’812 patent by Defendant’s

24 customers in violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell
25 and sells the Accused Products and Services within the United States knowing that they constitute
26
     a material part of the claimed inventions, knowing that the Accused Products and Services are
27
     especially made or especially adapted for use in infringing the ’812 patent, and knowing that the
28

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 1 Accused Products and Services are not a staple article or commodity of commerce suitable for
 2 substantial non-infringing use.
 3
            82.     Defendant has committed and continues to commit all the above acts of
 4
     infringement without license or authorization.
 5
            83.     Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
 6
     things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original
 7
 8 Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020)).
 9          84.     Defendant has had knowledge of the ’812 patent and the application from which it
10 issued, including the published application with substantially identical claims.
11
            85.     As a result of Defendant’s infringement of the ’812 patent, Plaintiffs have suffered
12
     damages and will continue to suffer damages.
13
            86.     On information and belief, the infringement of the ’812 Patent by Defendant has
14
15 been and continues to be willful. Defendant has had knowledge that the Accused Products and
16 Services are covered by the ’812 patent. On information and belief, Defendant, with assistance
17 from inventor Singhal, copied the ’812 patent despite knowing that the Accused Products and
18 Services are covered by the ’812 patent. Defendant has thus sold the Accused Products and
19
     Services knowing of the risk of infringement and/or in view of a risk of infringement that was
20
     sufficiently obvious that it should have been known to Defendant. Despite this risk, Defendant
21
     has deliberately continued to infringe in a wanton, malicious, and egregious manner, with reckless
22
23 disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have been and
24 continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35 U.S.C.
25 § 284.
26
            87.     Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
27
     further infringement. Defendant’s wrongful conduct has caused and will continue to cause
28

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 1 Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
 2 others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
 3
     inventions. On information and belief, Defendant will continue to infringe the ’812 patent unless
 4
     permanently enjoined by the Court.
 5
                                          COUNT II
 6                             INFRINGEMENT OF THE ’494 PATENT
 7          88.     The allegations in the preceding paragraphs are incorporated by reference as if fully
 8 set forth herein.
 9
            89.     Defendant has directly infringed, and continues to directly infringe, at least claim 1
10
     of the ’494 patent by making, using, of fering for sale, selling, and/or importing the Accused
11
     Products and Services into the United States.
12
13          90.     The use of the Accused Products and Services meets every limitation of at least

14 claim 1 and Defendant directly infringes at least claim 1 when using the Accused Products and
15 Services in violation of 35 U.S.C. § 271(a).
16
            91.     Claim 1 of the ’494 patent recites:
17
                    1. A method of assaying for a binding interaction between an antibody produced by
18                      a single antibody producing cell (APC) and a biomolecule, the method
                        comprising:
19
                    (a) retaining the single APC within a chamber having a volume of from 100 pL to
20                       100 nL, a solid wall, and an aperture that defines an opening of the chamber;
21                  (b) exposing the antibody produced by the APC to a capture substrate, wherein the
                         capture substrate is in fluid communication with the antibody produced by the
22                       APC and wherein the capture substrate is operable to bind the antibody
                         produced by the APC to produce a bound antibody;
23
                    (c) flowing a first fluid volume comprising the biomolecule into the chamber via
24                       the aperture, wherein the first fluid volume is in fluid communication with the
                         capture substrate and the bound antibody; and
25
                    (d) measuring a binding interaction between the antibody produced by the APC and
26                       the biomolecule.

27
28

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 1          92.     On information and belief, the use of the Accused Products and Services includes
 2 assaying for a binding interaction between an antibody produced by a single antibody producing
 3
     cell (APC) and a biomolecule. (See e.g., ¶¶ 36-59.)
 4
            93.     On information and belief, the use of theAccused Products and Services includes
 5
     retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid
 6
     wall, and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g.,
 7
 8 ¶¶ 36-59.)
 9          94.     On information and belief, the use of the Accused Products and Services includes
10 exposing the antibody produced by the APC to a capture substrate, wherein the capture substrate is
11
     in fluid communication with the antibody produced by the APC and wherein the capture substrate
12
     is operable to bind the antibody produced by the APC to produce a bound antibody, or an
13
     equivalent thereof. (See e.g., ¶¶ 36-59.)
14
15          95.     On information and belief, the use of the Accused Products and Services includes

16 flowing a first fluid volume comprising the biomolecule into the chamber via the aperture,
17 wherein the first fluid volume is in fluid communication with the capture substrate and the bound
18 antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
19
            96.     On information and belief, the use of the Accused Products and Services includes
20
     measuring a binding interaction between the antibody produced by the APC and the biomolecule,
21
     or an equivalent thereof. (See e.g., ¶¶ 36-59.)
22
23          97.     Defendant also has indirectly infringed and continues to indirectly infringe the

24 claims of the ’494 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
25 contributing to infringement pursuant to 35 U.S.C. § 271(c).
26
            98.     On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
27
     specifically intended to induce infringement of the ’494 patent by its customers and users of the
28

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 1 Accused Products and Services and had knowledge that its acts would cause infringement or was
 2 willfully blind to the possibility that its acts would cause infringement.
 3
            99.      Defendant knew of the ’494 patent at least as of its date of its issuance by virtue of
 4
     inventor Singhal. Defendant also knew of the ’494 patent since at least as early as October 3,
 5
     2019, when it was identified by AbCellera to Defendant and no later than the original Complaint
 6
     filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020). On information and belief,
 7
 8 Defendant’s customers directly infringe the ’494 patent.
 9          100.     On information and belief, Defendant specifically intends for its customers to
10 infringe the ’494 patent. Defendant encourages infringement by its customers at least by offering
11
     to sell and selling the Accused Products and Services and providing instructions to users on how
12
     to use the Accused Products and Services, which directly infringes the ’494 patent.
13
            101.     On information and belief, despite Defendant’s knowledge of the ’494 patent and
14
15 knowledge that its customers will necessarily infringe the ’494 patent when the Accused Products
16 and Services are used as instructed, Defendant continues to encourage infringement.
17          102.     Defendant also contributes to infringement of the ’494 patent by its customers in
18 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
19
     Accused Products and Services within the United States knowing that it constitutes a material part
20
     of the claimed inventions, knowing that the Accused Products and Services are especially made or
21
     especially adapted for use in infringing the ’494 patent, and knowing that the Accused Products
22
23 and Services are not a staple article or commodity of commerce suitable for substantial non-
24 infringing use.
25          103.     Defendant has committed and continues to commit all the above acts of
26
     infringement without license or authorization.
27
28

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 1            104.   Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
 2 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original
 3
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
 4
              105.   Defendant has had knowledge of the ’494 patent and the application from which it
 5
     issued, including the published application with substantially identical claims.
 6
              106.   As a result of Defendant’s infringement of the ’494 patent, Plaintiffs have suffered
 7
 8 damages and will continue to suffer damages.
 9            107.   On information and belief, the infringement of the ’494 Patent by Defendant has
10 been and continues to be willful. Defendant has had knowledge that the Accused Products and
11
     Services are covered by the ’494 patent. On information and belief, Defendant, with assistance
12
     from inventor Singhal, copied the ’494 patent despite knowing that the Accused Products and
13
     Services are covered by the ’494 patent. Defendant has thus sold the Accused Products and
14
15 Services knowing of the risk of infringement and/or in view of a risk of infringement that was
16 sufficiently obvious that it should have been known to Defendant. Despite this risk, Defendant
17 has deliberately continued to infringe in a wanton, malicious, and egregious manner, with reckles s
18 disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have been and
19
     continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35 U.S.C.
20
     § 284.
21
              108.   Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
22
23 further infringement. Defendant’s wrongful conduct has caused and will continue to cause
24 Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
25 others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
26
     inventions. On information and belief, Defendant will continue to infringe the ’494 patent unless
27
     permanently enjoined by the Court.
28

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 1                                       COUNT III
                               INFRINGEMENT OF THE ’241 PATENT
 2
            109.    The allegations in the preceding paragraphs are incorporated by reference as if fully
 3
     set forth herein.
 4
 5          110.    Defendant has directly infringed, and continues to directly infringe, at least claim 1

 6 of the ’241 patent by making, using, offering for sale, selling, and/or importing the Accused
 7 Products and Services into the United States.
 8          111.    The use of the Accused Products and Services meets every limitation of at least
 9
     claim 1 and Defendant directly infringes at least claim 1 when using the Accused Products and
10
     Services in violation of 35 U.S.C. § 271(a).
11
            112.    Claim 1 of the ’241 patent recites:
12
13                  1. A method of assaying for a binding interaction between an antibody produced by
                        a single antibody producing cell (APC) and a biomolecule, the method
14                      comprising:
15                  retaining the single APC within a chamber having a volume of from 100 pL to 100
                         nL, a solid wall, and an aperture that defines an opening of the chamber;
16                  exposing the antibody produced by the APC to a capture substrate, wherein the
17                      capture substrate is in fluid communication with the antibody produced by the
                        APC and wherein the capture substrate is operable to bind the antibody
18                      produced by the APC to produce a bound antibody;

19                  bringing a fluid volume comprising the biomolecule in fluid communication with
                        the capture substrate and the bound antibody; and
20                  measuring a binding interaction between the antibody produced by the APC and the
                       biomolecule.
21
22          113.    On information and belief, the use of the Accused Products and Services includes

23 assaying for a binding interaction between an antibody produced by a single antibody producing
24 cell (APC) and a biomolecule. (See e.g., ¶¶ 36-59.)
25
            114.    On information and belief, the use of the Accused Products and Services includes
26
     retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid
27
28

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 1 wall, and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g.,
 2 ¶¶ 36-59.)
 3
            115.    On information and belief, the use of the Accused Products and Services includes
 4
     exposing the antibody produced by the APC to a capture substrate, wherein the capture substrate is
 5
     in fluid communication with the antibody produced by the APC and wherein the capture substrate
 6
     is operable to bind the antibody produced by the APC to produce a bound antibody, or an
 7
 8 equivalent thereof. (See e.g., ¶¶ 36-59.)
 9          116.    On information and belief, the use of the Accused Products and Services includes
10 bringing a fluid volume comprising the biomolecule in fluid communication with the capture
11
     substrate and the bound antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
12
            117.    On information and belief, the use of the Accused Products and Services includes
13
     measuring a binding interaction between the antibody produced by the APC and the biomolecule,
14
15 or an equivalent thereof. (See e.g., ¶¶ 36-59.)
16          118.    Defendant also has indirectly infringed and continues to indirectly infringe the

17 claims of the ’241 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
18 contributing to infringement pursuant to 35 U.S.C. § 271(c).
19
            119.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
20
     specifically intended to induce infringement of the ’241 patent by its customers and users of the
21
     Accused Products and Services and had knowledge that its acts would cause infringement or was
22
23 willfully blind to the possibility that its acts would cause infringement.
24          120.    Defendant knew of the ’241 patent at least as of its date of its issuance by virtue of
25 inventor Singhal. Defendant also knew of the ’241 patent since at least as early as October 3,
26
     2019, when it was identified by AbCellera to Defendant and no later than the original Complaint
27
28

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 1 filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020). On information and belief,
 2 Defendant’s customers directly infringe the ’241 patent.
 3
            121.     On information and belief, Defendant specifically intends for its customers to
 4
     infringe the ’241 patent. Defendant encourages infringement by its customers at least by offering
 5
     to sell and selling the Accused Products and Services and providing instructions to users on how
 6
     to use the Accused Products and Services, which directly infringes the ’241 patent.
 7
 8          122.     On information and belief, despite Defendant’s knowledge of the ’241 patent and

 9 knowledge that its customers will necessarily infringe the ’241 patent when the Accused Products
10 and Services are used as instructed, Defendant continues to encourage infringement.
11
            123.     Defendant also contributes to infringement of the ’241 patent by its customers in
12
     violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
13
     Accused Products and Services within the United States knowing that it constitutes a material part
14
15 of the claimed inventions, knowing that the Accused Products and Services is especially made or
16 especially adapted for use in infringing the ’241 patent, and knowing that the Accused Products
17 and Services are not a staple article or commodity of commerce suitable for substantial non-
18 infringing use.
19
            124.     Defendant has committed and continues to commit all the above acts of
20
     infringement without license or authorization.
21
            125.     Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
22
23 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original
24 Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
25          126.     Defendant has had knowledge of the ’241 patent and the application from which it
26
     issued, including the published application with substantially identical claims.
27
28

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 1          127.    As a result of Defendant’s infringement of the ’241 patent, Plaintiffs have suffered
 2 damages and will continue to suffer damages.
 3
            128.    On information and belief, the infringement of the ’241 Patent by Defendant has
 4
     been and continues to be willful. Defendant has had knowledge that the Accused Products and
 5
     Services are covered by the ’241 patent. On information and belief, Defendant, with assistance
 6
     from inventor Singhal, copied the ’241 patent despite knowing that the Accused Products and
 7
 8 Services are covered by the ’241 patent. Defendant has thus sold the Accused Products and
 9 Services knowing of the risk of infringement and/or in view of a risk of infringement that was
10 sufficiently obvious that it should have been known to Defendant. Despite this risk, Defendant
11
     has deliberately continued to infringe in a wanton, malicious, and egregious manner, with reckless
12
     disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have been and
13
     continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35 U.S.C.
14
15 § 284.
16          129.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against

17 further infringement. Defendant’s wrongful conduct has caused and will continue to cause
18 Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
19
     others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
20
     inventions. On information and belief, Defendant will continue to infringe the ’241 patent unless
21
     permanently enjoined by the Court.
22
23                                       COUNT IV
                               INFRINGEMENT OF THE ’618 PATENT
24
            130.    The allegations in the preceding paragraphs are incorporated by reference as if fully
25
     set forth herein.
26
27
28

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 1          131.    Defendant has directly infringed, and continues to directly infringe, at least claim 1
 2 of the ’618 patent by making, using, offering for sale, selling, and/or importing the Accused
 3
     Products and Services into the United States.
 4
            132.    The use of the Accused Products and Services meets every limitation of at least
 5
     claim 1 and Defendant directly infringes at least claim 1 when using the Accused Products and
 6
     Services in violation of 35 U.S.C. § 271(a).
 7
 8          133.    Claim 1 of the ’618 patent recites:

 9                  1. A method of assaying for a binding interaction between an antibody secreted by
                        a single antibody secreting cell (ASC) and an antigen, the method comprising:
10
                    retaining the single ASC within a chamber having a volume of from 100 pL to 100
11                       nL, a solid wall, and an aperture that defines an opening of the chamber;
12                  incubating the single ASC within the chamber to produce a secreted antibody;
                    bringing a first fluid volume comprising the antigen in fluid communication with
13                      the secreted antibody;
14                  exposing the secreted antibody to a removeable capture substrate, wherein the
                        removeable capture substrate is in fluid communication with the secreted
15                      antibody and wherein the removeable capture substrate is operable to bind the
16                      secreted antibody;
                    incubating the secreted antibody with the removeable capture substrate to produce a
17                      bound antibody; and
18                  measuring a binding interaction between the secreted antibody and the antigen.
19          134.    On information and belief, the use of the Accused Products and Services includes
20 assaying for a binding interaction between an antibody secreted by a single antibody secreting cell
21
     (ASC) and an antigen. (See e.g., ¶¶ 36-59.)
22
            135.    On information and belief, the use of the Accused Products and Services includes
23
     retaining the single ASC within a chamber having a volume of from 100 pL to 100 nL, a solid
24
25 wall, and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g.,
26 ¶¶ 36-59.)
27
28

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 1          136.    On information and belief, the use of the Accused Products and Services includes
 2 incubating the single ASC within the chamber to produce a secreted antibody, or an equivalent
 3
     thereof. (See e.g., ¶¶ 36-59.)
 4
            137.    On information and belief, the use of the Accused Products and Services includes
 5
     bringing a first fluid volume comprising the antigen in fluid communication with the secreted
 6
     antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 7
 8          138.    On information and belief, the use of the Accused Products and Services includes

 9 exposing the secreted antibody to a removeable capture substrate, wherein the removeable capture
10 substrate is in fluid communication with the secreted antibody and wherein the removeable
11
     capture substrate is operable to bind the secreted antibody, or an equivalent thereof. (See e.g., ¶¶
12
     36-59.)
13
            139.    On information and belief, the use of the Accused Products and Services includes
14
15 incubating the secreted antibody with the removeable capture substrate to produce a bound
16 antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
17          140.    On information and belief, the use of the Accused Products and Services includes
18 measuring a binding interaction between the secreted antibody and the antigen, or an equivalent
19
     thereof. (See e.g., ¶¶ 36-59.)
20
            141.    Defendant also has indirectly infringed and continues to indirectly infringe the
21
     claims of the ’618 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
22
23 contributing to infringement pursuant to 35 U.S.C. § 271(c).
24          142.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
25 specifically intended to induce infringement of the ’618 patent by its customers and users of th e
26
     Accused Products and Services and had knowledge that its acts would cause infringement or was
27
     willfully blind to the possibility that its acts would cause infringement.
28

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 1          143.       Defendant knew of the ’618 patent at least as of its date of its issuance by virtue of
 2 inventor Singhal. Defendant also knew of the ’618 patent since at least as early as April 28, 2020,
 3
     when it was identified by AbCellera to Defendant and no later than the original Complaint filed
 4
     on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020). On information and belief,
 5
     Defendant’s customers directly infringe the ’618 patent.
 6
            144.       On information and belief, Defendant specifically intends for its customers to
 7
 8 infringe the ’618 patent. Defendant encourages infringement by its customers at least by offering
 9 to sell and selling the Accused Products and Services and providing instructions to users on how
10 to use the Accused Products and Services, which directly infringes the ’618 patent.
11
            145.       On information and belief, despite Defendant’s knowledge of the ’618 patent and
12
     knowledge that its customers will necessarily infringe the ’618 patent when the Accused Products
13
     and Services are used as instructed, Defendant continues to encourage infringement.
14
15          146.       Defendant also contributes to infringement of the ’618 patent by its customers in

16 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
17 Accused Products and Services within the United States knowing that it constitutes a material part
18 of the claimed inventions, knowing that the Accused Products and Services is especially made or
19
     especially adapted for use in infringing the ’618 patent, and knowing that the Accused Products
20
     and Services are not a staple article or commodity of commerce suitable for substantial non-
21
     infringing use.
22
23          147.       Defendant has committed and continues to commit all the above acts of

24 infringement without license or authorization.
25          148.       Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
26
     things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original
27
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
28

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 1          149.    Defendant has had knowledge of the ’618 patent and the application from which it
 2 issued, including the published application with substantially identical claims.
 3
            150.    As a result of Defendant’s infringement of the ’618 patent, Plaintiffs have suffered
 4
     damages and will continue to suffer damages.
 5
            151.    On information and belief, the infringement of the ’618 Patent by Defendant has
 6
     been and continues to be willful. Defendant has had knowledge that the Accused Products and
 7
 8 Services are covered by the ’618 patent. On information and belief, Defendant, with assistance
 9 from inventor Singhal, copied the ’618 patent despite knowing that the Accused Products and
10 Services are covered by the ’618 patent. Defendant has thus sold the Accused Products and
11
     Services knowing of the risk of infringement and/or in view of a risk of infringement that was
12
     sufficiently obvious that it should have been known to Defendant. Despite this risk, Defendant
13
     has deliberately continued to infringe in a wanton, malicious, and egregious manner, with reckless
14
15 disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have been and
16 continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35 U.S.C.
17 § 284.
18          152.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
19
     further infringement. Defendant’s wrongful conduct has caused and will continue to cause
20
     Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
21
     others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
22
23 inventions. On information and belief, Defendant will continue to infringe the ’618 patent unless
24 permanently enjoined by the Court.
25                                         COUNT V
                                INFRINGEMENT OF THE ’962 PATENT
26
            153.    The allegations in the preceding paragraphs are incorporated by reference as if fully
27
28 set forth herein.

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 1          154.    Defendant has directly infringed, and continues to directly infringe, at least claim 1
 2 of the ’962 patent by making, using, offering for sale, selling, and/or importing the Accused
 3
     Products and Services into the United States.
 4
            155.    The use of the Accused Products and Services meets every limitation of at least
 5
     claim 1 and Defendant directly infringes at least claim 1 when using the Accused Products and
 6
     Services in violation of 35 U.S.C. § 271(a).
 7
 8          156.    Claim 1 of the ’962 patent recites:

 9                  1. A method of assaying for a binding interaction between a secreted monoclonal
                        antibody produced by a single antibody producing cell (APC) and an antigen,
10                      the method comprising:
11                  retaining the single APC within a chamber having a volume of from 100 pL to 100
                         nL, a solid wall, and an aperture that defines an opening of the chamber;
12
                    incubating the single APC within the chamber to produce a secreted monoclonal
13                      antibody;
14                  exposing the secreted monoclonal antibody to a removeable capture substrate,
                        wherein the removeable capture substrate is in fluid communication with the
15                      secreted monoclonal antibody and wherein the removeable capture substrate is
                        capable of binding the secreted monoclonal antibody and nucleic acids of the
16                      single APC; incubating the secreted monoclonal antibody with the removeable
                        capture substrate to produce a bound antibody;
17
                    bringing a first fluid volume comprising the antigen in fluid communication with
18                      the bound antibody;
19                  measuring a binding interaction between the bound antibody and the antigen; and
                    lysing the single APC and capturing the nucleic acids of the single APC on the
20
                         removeable capture substrate.
21
            157.    On information and belief, the use of the Accused Products and Services includes
22
     assaying for a binding interaction between a secreted monoclonal antibody produced by a single
23
     antibody producing cell (APC) and an antigen. (See e.g., ¶¶ 36-59.)
24
25          158.    On information and belief, the use of the Accused Products and Services includes

26 retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid
27 wall, and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g.,
28
     ¶¶ 36-59.)
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 1          159.    On information and belief, the use of the Accused Products and Services includes
 2 incubating the single APC within the chamber to produce a secreted monoclonal antibody, or an
 3
     equivalent thereof. (See e.g., ¶¶ 36-59.)
 4
            160.    On information and belief, the use of the Accused Products and Services includes
 5
     exposing the secreted monoclonal antibody to a removeable capture substrate, wherein the
 6
     removeable capture substrate is in fluid communication with the secreted monoclonal antibody
 7
 8 and wherein the removeable capture substrate is capable of binding the secreted monoc lonal
 9 antibody and nucleic acids of the single APC, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
10          161.    On information and belief, the use of the Accused Products and Services includes
11
     incubating the secreted monoclonal antibody with the removeable capture su bstrate to produce a
12
     bound antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
13
            162.    On information and belief, the use of theAccused Products and Services includes
14
15 bringing a first fluid volume comprising the antigen in fluid communication with the bound
16 antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
17          163.    On information and belief, the use of the Accused Products and Services includes
18 measuring a binding interaction between the bound antibody and the antigen, or an equivalent
19
     thereof. (See e.g., ¶¶ 36-59.)
20
            164.    On information and belief, the use of the Accused Products and Services includes
21
     lysing the single APC and captures the nucleic acids of the single APC on the removeable capture
22
23 substrate, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
24          165.    Defendant also has indirectly infringed and continues to indirectly infringe the
25 claims of the ’962 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
26
     contributing to infringement pursuant to 35 U.S.C. § 271(c).
27
28

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 1          166.       On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
 2 specifically intended to induce infringement of the ’962 patent by its customers and users of the
 3
     Accused Products and Services and had knowledge that its acts would cause infringement or was
 4
     willfully blind to the possibility that its acts would cause infringement.
 5
            167.       Defendant knew of the ’962 patent at least as of its date of its issuance by virtue of
 6
     inventor Singhal. Defendant also knew of the ’962 patent since at least as early as April 28, 2020,
 7
 8 when it was identified by AbCellera to Defendant and no later than the original Complaint filed on
 9 July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020). On information and belief,
10 Defendant’s customers directly infringe the ’962 patent.
11
            168.       On information and belief, Defendant specifically intends for its customers to
12
     infringe the ’962 patent. Defendant encourages infringement by its customers at least by offering
13
     to sell and selling the Accused Products and Services and providing instructions to users on how
14
15 to use the Accused Products and Services, which directly infringes the ’962 patent.
16          169.       On information and belief, despite Defendant’s knowledge of the ’962 patent and

17 knowledge that its customers will necessarily infringe the ’962 patent when the Accused Products
18 and Services are used as instructed, Defendant continues to encourage infringement.
19
            170.       Defendant also contributes to infringement of the ’962 patent by its customers in
20
     violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
21
     Accused Products and Services within the United States knowing that it constitutes a material part
22
23 of the claimed inventions, knowing that the Accused Products and Services is especially made or
24 especially adapted for use in infringing the ’962 patent, and knowing that the Accused Products
25 and Services are not a staple article or commodity of commerce suitable for substantial non-
26
     infringing use.
27
28

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 1          171.    Defendant has committed and continues to commit all the above acts of
 2 infringement without license or authorization.
 3
            172.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
 4
     things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original
 5
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
 6
            173.    Defendant has had knowledge of the ’962 patent and the application from which it
 7
 8 issued, including the published application with substantially identical claims.
 9          174.    As a result of Defendant’s infringement of the ’962 patent, Plaintiffs have suffered
10 damages and will continue to suffer damages.
11
            175.    On information and belief, the infringement of the ’962 Patent by Defendant has
12
     been and continues to be willful. Defendant has had knowledge that the Accused Products and
13
     Services are covered by the ’962 patent. On information and belief, Defendant, with assistance
14
15 from inventor Singhal, copied the ’962 patent despite knowing that the Accused Products and
16 Services are covered by the ’962 patent. Defendant has thus sold the Accused Products and
17 Services knowing of the risk of infringement and/or in view of a risk of infringement that was
18 sufficiently obvious that it should have been known to Defendant. Despite this risk, Defendant
19
     has deliberately continued to infringe in a wanton, malicious, and egregious manner, with reckles s
20
     disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have been and
21
     continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35 U.S.C.
22
23 § 284.
24          176.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
25 further infringement. Defendant’s wrongful conduct has caused and will continue to cause
26
     Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
27
     others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
28

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 1 inventions. On information and belief, Defendant will continue to infringe the ’962 patent unless
 2 permanently enjoined by the Court.
 3
                                         COUNT VI
 4                             INFRINGEMENT OF THE ’408 PATENT

 5          177.    The allegations in the preceding paragraphs are incorporated by reference as if fully

 6 set forth herein.
 7          178.    Defendant has directly infringed, and continues to directly infringe, at least claim 1
 8 of the ’408 patent by making, using, offering for sale, selling, and/or importing the Accused
 9
     Products and Services into the United States.
10
            179.    The use of the Accused Products and Services meets every limitation of at least
11
     claim 1 of the ’408 patent. Accordingly, Defendant’s use of the Accused Products and Services
12
13 directly infringes the ’408 patent in violation of 35 U.S.C. § 271(a).
14          180.    Claim 1 of the ’408 patent recites:
15                  1. A method of culturing a cell, the method comprising:
16                  retaining the cell at a retaining position within an individual chamber of a
                         microfabricated device;
17
                    perfusing the cell with a perfusion fluid by flowing the perfusion fluid into the
18                      individual chamber through an inlet and out of the chamber through an outlet,
                        wherein the outlet is positioned such that gravitational forces acting on the cell
19                      to keep it at or near the retaining position exceed hydrodynamic forces acting
                        on the cell to move it toward the outlet;
20
                    culturing the cell within the chamber and monitoring a response in the chamber;
21                       and
22                  selectively recovering the cell or a clonal population thereof from the individual
                        chamber based on the response in the monitoring step.
23
            181.    On information and belief, the use of the Accused Products and Services includes
24
     culturing a cell. (See e.g., ¶¶ 36-59.)
25
26          182.    On information and belief, the use of the Accused Products and Services includes

27 retaining the cell at a position within an individual chamber of a microfabricated device, or an
28 equivalent thereof. (See e.g., ¶¶ 36-59.)

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 1          183.    On information and belief, the use of the Accused Products and Services includes
 2 perfusing the cell with a perfusion fluid by flowing the perfusion fluid into the chamber through
 3
     an inlet and out of the chamber through an outlet, wherein the outlet is positioned such that
 4
     gravitational forces acting on the cell to keep it at or near the retaining position exceed
 5
     hydrodynamic forces acting on the cell to move it towards the outlet, or an equivalent thereof.
 6
     (See e.g., ¶¶ 36-59.)
 7
 8          184.    On information and belief, the use of the Accused Products and Services includes

 9 culturing a cell within the chamber and monitoring a response in the chamber, or an equivalent
10 thereof. (See e.g., ¶¶ 36-59.)
11
            185.    On information and belief, the use of the Accused Products and Services includes
12
     selectively recovering the cell or a clonal population thereof from the individual chamber based on
13
     the response in the monitoring step, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
14
15          186.    Defendant also has indirectly infringed and continues to indirectly infringe the

16 claims of the ’408 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
17 contributing to infringement pursuant to 35 U.S.C. § 271(c).
18          187.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
19
     specifically intended to induce infringement of the ’408 patent by its customers and users of the
20
     Accused Products and Services and had knowledge that its acts would cause infringement or was
21
     willfully blind to the possibility that its acts would cause infringement.
22
23          188.    Defendant knew of the ’408 patent at least as of its date of its issuance by virtue of

24 inventor Singhal. Defendant also knew of the ’408 patent since at least as early as October 3,
25 2019, when it was identified by AbCellera to Defendant and no later than the original Complaint
26
     filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
27
28

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 1          189.     On information and belief, Defendant specifically intends for its customers to
 2 infringe the ’408 patent. Defendant encourages infringement by its customers at least by offering
 3
     to sell and selling the Accused Products and Services and providing instructions on how to use the
 4
     Accused Products and Services, which directly infringes the ’408 patent.
 5
            190.     On information and belief, despite Defendant’s knowledge of the ’408 patent and
 6
     knowledge that its customers will necessarily infringe the ’408 patent when the Accused Products
 7
 8 and Services are used as instructed, Defendant continues to encourage infringement.
 9          191.     Defendant also contributes to infringement of the ’408 patent by its customers in
10 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
11
     Accused Products and Services within the United States knowing that it constitutes a material part
12
     of the claimed inventions, knowing that the Accused Products and Services are especially made or
13
     especially adapted for use in infringing the ’408 patent, and knowing that the Accused Products
14
15 and Services are not a staple article or commodity of commerce suitable for substantial non-
16 infringing use.
17          192.     Defendant has committed and continues to commit all the above acts of
18 infringement without license or authorization.
19
            193.     Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
20
     things, giving actual notice to Defendant by, inter alia, AbCellera’s letters as well as the original
21
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
22
23          194.     Defendant has had knowledge of the ’408 patent and the application from which it

24 issued, including the published application with substantially identical claims.
25          195.     As a result of Defendant’s infringement of the ’408 patent, Plaintiffs have suffered
26
     damages and will continue to suffer damages.
27
28

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 1          196.     On information and belief, the infringement of the ’408 Patent by Defendant has
 2 been and continues to be willful. Defendant has had knowledge that the use of the Accused
 3
     Products and Services are covered by the ’408 patent. On information and belief, Defendant, with
 4
     assistance from inventor Singhal, copied the ’408 patent despite knowing that the Accused
 5
     Products and Services are covered by the ’408 patent. Defendant has thus sold the Accused
 6
     Products and Services knowing of the risk of infringement and/or in view of a risk of infringement
 7
 8 that was sufficiently obvious that it should have been known to Defendant. Despite this risk,
 9 Defendant has deliberately continued to infringe in a wanton, malicious, and egregious manner,
10 with reckless disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have
11
     been and continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35
12
     U.S.C. § 284.
13
            197.     Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
14
15 further infringement. Defendant’s wrongful conduct has caused and will continue to cause
16 Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
17 others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
18 inventions. On information and belief, Defendant will continue to infringe the ’408 patent unless
19
     permanently enjoined by the Court.
20
                                          COUNT VII
21                              INFRINGEMENT OF THE ’936 PATENT
22          198.     The allegations in the preceding paragraphs are incorporated by reference as if fully
23 set forth herein.
24
            199.     Defendant has directly infringed, and continues to directly infringe, at least claim 1
25
     of the ’936 patent by making, using, offering for sale, selling, and/or importing the Accused
26
     Products and Services into the United States.
27
28

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 1          200.    The use of the Accused Products and Services meets every limitation of at least
 2 claim 1 of the ’936 patent. Accordingly, Defendant’s use of the Accused Products and Services
 3
     directly infringes the ’936 patent in violation of 35 U.S.C. § 271(a).
 4
            201.    Claim 1 of the ’936 patent recites:
 5
                    1. A method for selecting a cell, or a clone thereof, from a population of cells,
 6                      comprising:
 7                  introducing the population of cells into 1,600 to 20,000 microfluidic chambers of a
                         microfluidic device via a single introduction port, wherein each microfluidic
 8                       chamber comprises an inlet, the single introduction port is in fluid
                         communication with a flow channel that is in fluid communication with the
 9
                         inlets of the microfluidic chambers, and wherein individual cells of the
10                       population are retained in unique microfluidic chambers of the microfluidic
                         device, and the cells are transported via the introduction port and flow channel
11                       into the unique microfluidic chambers;
12                  providing a cell culture medium to the plurality of microfluidic chambers via the
                        flow channel and the inlets of the chambers;
13                  exchanging the cell culture medium in the individual microfluidic chambers via the
14                      flow channel and the inlets of the chambers, to create a plurality of individual
                        clonal cell populations, wherein the individual clonal cell populations are
15                      retained in the same microfluidic chamber as their respective parental cells;

16                  measuring a cell product secreted by the individual clonal cell populations, or
                       subset thereof, within one or more of the microfluidic chambers; and
17                  selecting one or more individual clonal cell populations from the plurality to
18                      provide one or more selected individual clonal cell populations.

19          202.    On information and belief, the use of the Accused Products and Services includes

20 selecting a cell or a clone of a cell from a population of cells. (See e.g., ¶¶ 36-59.)
21          203.    On information and belief, the use of the Accused Products and Services includes
22
     introducing a population of cells into 1,600 to 20,000 microfluidic chambers of a microfluidic
23
     device via a single introduction port, wherein each microfluidic chamber comprises an inlet, the
24
     single introduction port is in fluid communication with a flow channel that is in fluid
25
     communication with the inlets of the microfluidic chambers, and wherein individual cells of the
26
27 population are retained in unique microfluidic chambers of the microfluidic device, and the cells
28

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 1 are transported via the introduction port and flow channel into the unique microfluidic chambers,
 2 or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 3
            204.    On information and belief, the use of the Accused Products and Services includes
 4
     providing a cell culture medium to the plurality of microfluidic chambers via the flow channel and
 5
     the inlets of the chambers, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 6
            205.    On information and belief, the use of the Accused Products and Services includes
 7
 8 exchanging the cell culture medium in the individual microfluidic chambers via the flow channel
 9 and the inlets of the chambers to create a plurality of individual clonal cell populations, wherein
10 the individual clonal cell populations are retained in the same microfluidic chamber as their
11
     respective parental cells, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
12
            206.    On information and belief, the use of the Accused Products and Services includes
13
     measuring a cell product secreted by the individual clonal cell populations, or subset of the clonal
14
15 cell populations, within one or more of the microfluidic chambers, or an equivalent thereof. (See
16 e.g., ¶¶ 36-59.)
17          207.    On information and belief, the use of the Accused Products and Services includes
18 selecting one or more individual clonal cell populations from the plurality to provide one or more
19
     selected individual clonal cell populations, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
20
            208.    Defendant also has indirectly infringed and continues to indirectly infringe the
21
     claims of the ’936 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
22
23 contributing to infringement pursuant to 35 U.S.C. § 271(c).
24          209.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
25 specifically intended to induce infringement of the ’936 patent by its customers and users of the
26
     Accused Products and Services and had knowledge that its acts would cause infringement or was
27
     willfully blind to the possibility that its acts would cause infringement.
28

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 1          210.       Defendant knew of the ’936 patent at least as of its date of its issuance by virtue of
 2 inventor Singhal. Defendant also knew of the ’936 patent since at least as early as October 3,
 3
     2019, when it was identified by AbCellera to Defendant and no later than the original Complaint
 4
     filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
 5
            211.       On information and belief, Defendant specifically intends for its customers to
 6
     infringe the ’936 patent. Defendant encourages infringement by its customers at least by offering
 7
 8 to sell and selling the Accused Products and Services and providing instructions on how to use the
 9 Accused Products and Services, which directly infringes the ’936 patent.
10          212.       On information and belief, despite Defendant’s knowledge of the ’936 patent and
11
     knowledge that its customers will necessarily infringe the ’936 patent when the Accused Products
12
     and Services are used as instructed, Defendant continues to encourage infringement.
13
            213.       Defendant also contributes to infringement of the ’936 patent by its customers in
14
15 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
16 Accused Products and Services within the United States knowing that it constitutes a material part
17 of the claimed inventions, knowing that the Accused Products and Services is especially made or
18 especially adapted for use in infringing the ’936 patent, and knowing that the Accused Products
19
     and Services are not a staple article or commodity of commerce suitable for substantial non-
20
     infringing use.
21
            214.       Defendant has committed and continues to commit all the above acts of
22
23 infringement without license or authorization.
24          215.       Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
25 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters as well as the original
26
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
27
28

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 1          216.    Defendant has had knowledge of the ’936 patent and the application f rom which it
 2 issued, including the published application with substantially identical claims.
 3
            217.    As a result of Defendant’s infringement of the ’936 patent, Plaintiffs have suffered
 4
     damages and will continue to suffer damages.
 5
            218.    On information and belief, the infringement of the ’936 Patent by Defendant has
 6
     been and continues to be willful. Defendant has had knowledge that the use of the Accused
 7
 8 Products and Services are covered by the ’936 patent. On information and belief, Defendant, with
 9 assistance from inventor Singhal, copied the ’936 patent despite knowing that the Accused
10 Products and Services are covered by the ’936 patent. Defendant has thus sold the Accused
11
     Products and Services knowing of the risk of infringement and/or in view of a risk of infringement
12
     that was sufficiently obvious that it should have been known to Defendant. Despite this risk,
13
     Defendant has deliberately continued to infringe in a wanton, malicious, and egregious manner,
14
15 with reckless disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have
16 been and continue to be consciously wrongful, entitling Plaintiffs to increased damages under 35
17 U.S.C. § 284.
18          219.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
19
     further infringement. Defendant’s wrongful conduct has caused and will continue to cause
20
     Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
21
     others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
22
23 inventions. On information and belief, Defendant will continue to infringe the ’408 patent unless
24 permanently enjoined by the Court.
25                                        COUNT VIII
                                INFRINGEMENT OF THE ’018 PATENT
26
            220.    The allegations in the preceding paragraphs are incorporated by reference as if fully
27
28 set forth herein.

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 1          221.    Defendant has directly infringed, and continues to directly infringe, at least claim 1
 2 of the ’018 patent by making, using, offering for sale, selling, and/or importing the Accused
 3
     Products and Services into the United States.
 4
            222.    The use of the Accused Products and Services meets every limitation of at least
 5
     claim 1 of the ’018 patent. Accordingly, Defendant’s use of the Accused Products and Services
 6
     directly infringes the ’018 patent in violation of 35 U.S.C. § 271(a).
 7
 8          223.    Claim 1 of the ’018 patent recites:

 9                  1. A method for culturing single cells, comprising:
10                  introducing a population of cells via a single introduction port into a microfluidic
                         device comprising a plurality of microfluidic chambers, wherein each
11                       microfluidic chamber of the plurality comprises an inlet, the single
                         introduction port is in fluid communication with a flow channel that is in fluid
12                       communication with the inlets of the plurality of microfluidic chambers,
13                  wherein single cells of the population are retained individually in different
                       microfluidic chambers of the plurality, and wherein the cells are transported
14                     via the introduction port and flow channel into the different microfluidic
                       chambers,
15
                    providing a cell culture medium to the plurality of microfluidic chambers via the
16                      flow channel and the inlets of the microfluidic chambers,
17                  exchanging the cell culture medium in the microfluidic chambers via the flow
                        channel and the inlets of the microfluidic chambers, to create a plurality of
18                      individual clonal cell populations, wherein the individual clonal cell
                        populations are retained in the same microfluidic chamber as their respective
19                      parental cell, thereby culturing the single cells.
20
            224.    On information and belief, the use of the Accused Products and Services includes
21
     culturing single cells. (See e.g., ¶¶ 36-59.)
22
            225.    On information and belief, the use of the Accused Products and Services includes
23
24 introducing a population of cells via a single introduction port into a microfluidic device
25 comprising a plurality of microfluidic chambers, wherein each microfluidic chamber of the
26 plurality comprises an inlet, the single introduction port is in fluid communication with a flow
27 channel that is in fluid communication with the inlets of the plurality of microfluidic chambers, or
28
     an equivalent thereof. (See e.g., ¶¶ 36-59.)
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 1          226.    On information and belief, the use of the Accused Products and Services includes
 2 single cells of the population retained individually in different microfluidic chambers of the
 3
     plurality, and wherein the cells are transported via the introduction port and flow channel into the
 4
     different microfluidic chambers, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 5
            227.    On information and belief, the use of the Accused Products and Services includes
 6
     providing a cell culture medium to the plurality of microfluidic chambers via the flow channel and
 7
 8 the inlets of the microfluidic chambers, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 9          228.    On information and belief, the use of the Accused Products and Services includes
10 exchanging the cell culture medium in the microfluidic chambers via the flow channel and the
11
     inlets of the microfluidic chambers, to create a plurality of individual clonal cell populations,
12
     wherein the individual clonal cell populations are retained in the same microfluidic chamber as
13
     their respective parental cell, thereby culturing the single cells, or an equivalent thereof. (See e.g.,
14
15 ¶¶ 36-59.)
16          229.    Defendant also has indirectly infringed and continues to indirectly infringe the

17 claims of the ’018 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or
18 contributing to infringement pursuant to 35 U.S.C. § 271(c).
19
            230.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant
20
     specifically intended to induce infringement of the ’018 patent by its customers and users of the
21
     Accused Products and Services and had knowledge that its acts would cause infringement or was
22
23 willfully blind to the possibility that its acts would cause infringement.
24          231.    Defendant knew of the ’018 patent at least as of its date of its issuance by virtue of
25 inventor Singhal. Defendant also knew of the ’018 patent since no later than the original
26
     Complaint filed on July 9, 2020 (No. 20-cv-00931, D.I. 1 (D. Del. July 9, 2020).
27
28

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 1          232.     On information and belief, Defendant specifically intends for customers to infringe
 2 the ’018 patent. Defendant encourages infringement by customers at least by offering to sell and
 3
     selling the Accused Products and Services and providing instructions on how to use the Accused
 4
     Products and Services, which directly infringes the ’018 patent.
 5
            233.     On information and belief, despite Defendant’s knowledge of the ’018 patent and
 6
     knowledge that its customers will necessarily infringe the ’018 patent when the Accused Products
 7
 8 and Services are used as instructed, Defendant continues to encourage infringement.
 9          234.     Defendant also contributes to infringement of the ’018 patent by its customers in
10 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
11
     Accused Products and Services within the United States knowing that it constitutes a material part
12
     of the claimed inventions, knowing that the Accused Products and Services are especially made or
13
     especially adapted for use in infringing the ’018 patent, and knowing that the Accused Products
14
15 and Services are not a staple article or commodity of commerce suitable for substantial non-
16 infringing use.
17          235.     Defendant has committed and continues to commit all the above acts of
18 infringement without license or authorization.
19
            236.     Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
20
     things, giving actual notice to Defendant by the original Complaint filed on July 9, 2020 (No. 20-
21
     cv-00931, D.I. 1 (D. Del. July 9, 2020).
22
23          237.     Defendant has knowledge of the ’018 patent and the application from which it

24 issued, including the published application with substantially identical claims.
25          238.     As a result of Defendant’s infringement of the ’018 patent, Plaintiffs have suffered
26
     damages and will continue to suffer damages.
27
28

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 1          239.    On information and belief, the infringement of the ’018 Patent by Defendant is
 2 willful. Defendant has had knowledge that the use of the Accused Products and Services are
 3
     covered by the ’018 patent. On information and belief, Defendant, with assistance from inventor
 4
     Singhal, copied the ’018 patent despite knowing that the Accused Products and Services are
 5
     covered by the ’018 patent. Defendant has thus sold the Accused Products and Services knowing
 6
     of the risk of infringement and/or in view of a risk of infringement that was sufficiently obvious
 7
 8 that it should have been known to Defendant. Despite this risk, Defendant has deliberately
 9 continued to infringe in a wanton, malicious, and egregious manner, with reckless disregard for
10 Plaintiffs’ patent rights. Thus, Defendant’s infringing actions have been and continue to be
11
     consciously wrongful, entitling Plaintiffs to increased damages under 35 U.S.C. § 284.
12
            240.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against
13
     further infringement. Defendant’s wrongful conduct has caused and will continue to cause
14
15 Plaintiffs to suffer irreparable harm resulting from the loss of its lawful patent right to exclude
16 others from making, using selling, offering to sell, and/or importing Plaintiffs’ patented
17 inventions. On information and belief, Defendant will continue to infringe the ’018 patent unless
18 permanently enjoined by the Court.
19
                                         COUNT IX
20                             INFRINGEMENT OF THE ’376 PATENT

21          241.    The allegations in the preceding paragraphs are incorporated by reference as if fully set
22 forth herein.
23
            242.    Defendant directly infringes, at least claim 1 of the ’376 patent by making, using,
24
     offering for sale, selling, and/or importing the Accused Products and Services into the United States.
25
            243.    The use of the Accused Products and Services meets every limitation of at least claim 1
26
27 and Defendant directly infringes at least claim 1 when using the Accused Products and Services in
28 violation of 35 U.S.C. § 271(a).

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 1          244.    Claim 1 of the ’376 patent recites:
 2                  1. A method of assaying for a binding interaction between an antibody secreted
                    by a single antibody secreting cell (ASC) and an antigen, the method
 3
                    comprising:
 4
                    retaining the single ASC within a chamber having a volume of less than 500
 5                  pL, a solid wall, and an aperture that defines an opening of the chamber;

 6                  incubating the single ASC within the chamber to produce a secreted antibody;
 7                  bringing a first fluid volume comprising the antigen in fluid communication
                    with the secreted antibody;
 8
                    exposing the secreted antibody to a removeable capture substrate, wherein the
 9
                    removeable capture substrate is in fluid communication with the secreted
10                  antibody and wherein the removeable capture substrate is operable to bind the
                    secreted antibody;
11
                    incubating the secreted antibody with the removeable capture substrate to
12                  produce a bound antibody; and
13                  measuring a binding interaction between the secreted antibody and the antigen.
14
            245.    On information and belief, the use of the Accused Products and Services includes
15
     assaying for a binding interaction between an antibody secreted by a single ASC and an antigen. (See
16
     e.g., ¶¶ 36-59.)
17
            246.    On information and belief, the use of the Accused Products and Services includes
18
19 retaining the single ASC within a chamber having a volume of less than 500 pL, a solid wall, and an
20 aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
21          247.    On information and belief, the use of the Accused Products and Services includes
22
     incubating the single ASC within the chamber to produce a secreted antibody, or an equivalent
23
     thereof. (See e.g., ¶¶ 36-59.)
24
            248.    On information and belief, the use of the Accused Products and Services includes
25
26 bringing a first fluid volume comprising the antigen in fluid communication with the secreted
27 antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
28

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 1          249.    On information and belief, the use of the Accused Products and Services includes
 2 exposing the secreted antibody to a removeable capture substrate, wherein the removeable capture
 3
     substrate is in fluid communication with the secreted antibody and wherein the remov eable capture
 4
     substrate is operable to bind the secreted antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 5
            250.    On information and belief, the use of the Accused Products and Services includes
 6
     incubating the secreted antibody with the removeable capture substrate to produce a bound antibody,
 7
 8 or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 9          251.    On information and belief, the use of the Accused Products and Services includes
10 measuring a binding interaction between the secreted antibody and the antigen, or an equivalent
11
     thereof. (See e.g., ¶¶ 36-59.)
12
            252.    Defendant also indirectly infringes the claims of the ’376 patent by inducing
13
     infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to infringement pursuant to 35 U.S.C.
14
15 § 271(c).
16          253.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically

17 intends to induce infringement of the ’376 patent by its customers and users of the Accused Products
18 and Services and has knowledge that its acts will cause infringement or is willfully blind to the
19
     possibility that its acts will cause infringement.
20
            254.    Defendant has known of the ’376 patent at least as of the date of the original Complaint
21
     filed on September 16, 2020 (No. 20-cv-01230, D.I. 1 (D. Del. Sept. 16, 2020), as well as by virtue of
22
23 inventor Singhal. On information and belief, Defendant’s customers directly infringe the ’376 patent.
24          255.    On information and belief, Defendant specifically intends for its customers to infringe
25 the ’376 patent. Defendant encourages infringement by its customers at least by offering to sell and
26
     selling the Accused Products and Services and providing instructions to users on how to use the
27
     Accused Products and Services, which directly infringes the ’376 patent.
28

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 1          256.    On information and belief, despite Defendant’s knowledge of the ’376 patent and
 2 knowledge that its customers will necessarily infringe the ’376 patent when the Accused Products and
 3
     Services are used as instructed, Defendant encourages infringement.
 4
            257.    Defendant also contributes to infringement of the ’376 patent by its customers in
 5
     violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
 6
     Accused Products and Services within the United States knowing that it constitutes a material part of
 7
 8 the claimed inventions, knowing that the Accused Products and Services are especially made or
 9 especially adapted for use in infringing the ’376 patent, and knowing that the Accused Products and
10 Services are not a staple article or commodity of commerce suitable for substantial non-infringing
11
     use.
12
            258.    Defendant commits all the above acts of infringement without license or authorization.
13
            259.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
14
15 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original Complaint
16 filed on September 16, 2020 (No. 20-cv-01230, D.I. 1 (D. Del. Sept. 16, 2020).
17          260.    Defendant has had knowledge of the ’376 patent and the application from which it
18 issued, including the published application with substantially identical claims.
19
            261.    As a result of Defendant’s infringement of the ’376 patent, Plaintiffs have suffered
20
     damages and will continue to suffer damages.
21
            262.    On information and belief, the infringement of the ’376 patent by Defendant is willful.
22
23 Defendant has had knowledge that the Accused Products and Services are covered by the ’376 patent.
24 On information and belief, Defendant, with assistance from inventor Singhal, copied the ’376 patent
25 despite knowing that the Accused Products and Services are covered by the ’376 patent. Defendant
26
     has thus sold the Accused Products and Services knowing of the risk of infringement and/or in view of
27
     a risk of infringement that was sufficiently obvious that it should have been known to Defendant.
28

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 1 Despite this risk, Defendant infringes in a wanton, malicious, and egregious manner, with reckless
 2 disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions are consciously wrongful,
 3
     entitling Plaintiffs to increased damages under 35 U.S.C. § 284.
 4
            263.     Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further
 5
     infringement. Defendant’s wrongful conduct causes and will cause Plaintiffs to suffer irreparable harm
 6
     resulting from the loss of its lawful patent right to exclude others from making, using selling, offering
 7
 8 to sell, and/or importing Plaintiffs’ patented inventions. On information and belief, Defendant will
 9 continue to infringe the ’376 patent unless permanently enjoined by the Court.
10
11                                         COUNT X
                                INFRINGEMENT OF THE ’377 PATENT
12
            264.     The allegations in the preceding paragraphs are incorporated by reference as if fully set
13
     forth herein.
14
            265.     Defendant directly infringes at least claim 1 of the ’377 patent by making, using,
15
16 offering for sale, selling, and/or importing the Accused Products and Services into the United States.
17          266.     The use of the Accused Products and Services meets every limitation of at least claim 1
18 and Defendant directly infringes at least claim 1 when using the Accused Products and Services in
19
     violation of 35 U.S.C. § 271(a).
20
            267.     Claim 1 of the ’377 patent recites:
21
                     1. A method of assaying a secreted monoclonal antibody produced by a single
22                   antibody producing cell (APC) and an antigen, the method comprising:
23
                     retaining the single APC within a chamber having a volume of from 100 pL to
24                   100 nL, a solid wall, and an aperture that defines an opening of the chamber;

25                   incubating the single APC within the chamber to produce a secreted
                     monoclonal antibody;
26
                     exposing the secreted monoclonal antibody to a first removeable capture
27                   substrate bound to an antigen
28                   determining whether the secreted monoclonal antibody binds the antigen;

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 1                  lysing the single APC and capturing the nucleic acids of the single APC on a
                    second removeable capture substrate.
 2
            268.    On information and belief, the use of the Accused Products and Services includes
 3
 4 assaying a secreted monoclonal antibody produced by a single APC and an antigen. (See e.g., ¶¶ 36-
 5 59.)
 6          269.    On information and belief, the use of the Accused Products and Services includes
 7 retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid wall,
 8
     and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 9
            270.    On information and belief, the use of the Accused Products and Services includes
10
     incubating the single APC within the chamber to produce a secreted monoclonal antibody, or an
11
12 equivalent thereof. (See e.g., ¶¶ 36-59.)
13          271.    On information and belief, the use of the Accused Products and Services includes
14 exposing the secreted monoclonal antibody to a first removeable capture substrate bound to an
15
     antigen, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
16
            272.    On information and belief, the use of the Accused Products and Services includes
17
     determining whether the secreted monoclonal antibody binds the antigen, or an equivalent thereof.
18
     (See e.g., ¶¶ 36-59.)
19
20          273.    On information and belief, the use of the Accused Products and Services includes

21 lysing the single APC and captures the nucleic acids of the single APC on the removeable capture
22 substrate, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
23
            274.    Defendant also indirectly infringes the claims of the ’377 patent by inducing
24
     infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to infringement pursuant to 35 U.S.C.
25
     § 271(c).
26
27          275.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically

28 intends to induce infringement of the ’377 patent by its customers and users of the Accused Products

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 1 and Services and has knowledge that its acts will cause infringement or is willfully blind to the
 2 possibility that its acts will cause infringement.
 3
            276.    Defendant has known of the ’377 patent at least as of the date of the original Complaint
 4
     filed on September 16, 2020 (No. 20-cv-01230, D.I. 1 (D. Del. Sept. 16, 2020), as well as by virtue of
 5
     inventor Singhal. On information and belief, Defendant’s customers directly infringe the ’377 patent.
 6
            277.    On information and belief, Defendant specifically intends for its customers to infringe
 7
 8 the ’377 patent. Defendant encourages infringement by its customers at least by offering to sell and
 9 selling the Accused Products and Services and providing instructions to users on how to use the
10 Accused Products and Services, which directly infringes the ’377 patent.
11
            278.    On information and belief, despite Defendant’s knowledge of the ’377 patent and
12
     knowledge that its customers will necessarily infringe the ’377 patent when the Accused Products and
13
     Services are used as instructed, Defendant encourages infringement.
14
15          279.    Defendant also contributes to infringement of the ’377 patent by its customers in

16 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
17 Accused Products and Services within the United States knowing that it constitutes a material part of
18 the claimed inventions, knowing that the Accused Products and Services are especially made or
19
     especially adapted for use in infringing the ’377 patent, and knowing that the Accused Products and
20
     Services are not a staple article or commodity of commerce suitable for substantial non -infringing use.
21
            280.    Defendant commits all the above acts of infringement without license or authorization.
22
23          281.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other

24 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original Complaint
25 filed on September 16, 2020 (No. 20-cv-01230, D.I. 1 (D. Del. Sept. 16, 2020).
26
            282.    Defendant has had knowledge of the ’377 patent and the application from which it
27
     issued, including the published application with substantially identical claims.
28

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 1          283.    As a result of Defendant’s infringement of the ’377 patent, Plaintiffs have suffered
 2 damages and will continue to suffer damages.
 3
            284.    On information and belief, the infringement of the ’377 patent by Defendant is willful.
 4
     Defendant has had knowledge that the Accused Products and Services are covered by the ’377 patent.
 5
     On information and belief, Defendant, with assistance from inventor Singhal, copied the ’377 patent
 6
     despite knowing that the Accused Products and Services are covered by the ’377 patent. Defendant
 7
 8 has thus sold the Accused Products and Services knowing of the risk of infringement and/or in view of
 9 a risk of infringement that was sufficiently obvious that it should have been known to Defendant.
10 Despite this risk, Defendant deliberately infringes in a wanton, malicious, and egregious manner, with
11
     reckless disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions are consciously
12
     wrongful, entitling Plaintiffs to increased damages under 35 U.S.C. § 284.
13
            285.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further
14
15 infringement. Defendant’s wrongful conduct will continue to cause Plaintiffs to suffer irreparable
16 harm resulting from the loss of its lawful patent right to exclude others from making, using selling,
17 offering to sell, and/or importing Plaintiffs’ patented inventions. On information and belief, Defendant
18 will continue to infringe the ’377 patent unless permanently enjoined by the Court.
19
20                                       COUNT XI
                               INFRINGEMENT OF THE ’378 PATENT
21
            286.    The allegations in the preceding paragraphs are incorporated by reference as if fully set
22
23 forth herein.
24          287.    Defendant directly infringes at least claim 1 of the ’378 patent by making, using,

25 offering for sale, selling, and/or importing the Accused Products and Services into the United States.
26
27
28

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 1          288.    The use of the Accused Products and Services meets every limitation of at least claim 1
 2 and Defendant directly infringes at least claim 1 when using the Accused Products and Services in
 3
     violation of 35 U.S.C. § 271(a).
 4
            289.    Claim 1 of the ’378 patent recites:
 5
                    1. A method of assaying a secreted monoclonal antibody produced by a single
 6                  antibody producing cell (APC) and an antigen, the method comprising:
 7                  retaining the single APC within a chamber having a volume of from 100 pL to
 8                  100 nL, a solid wall, and an aperture that defines an opening of the chamber;

 9                  incubating the single APC within the chamber to produce a secreted
                    monoclonal antibody;
10
                    exposing the secreted monoclonal antibody to a first removeable capture
11                  substrate, wherein first the removeable capture substrate is in fluid
                    communication with the secreted monocolonal antibody and wherein the first
12
                    removeable capture substrate is capable of binding the secreted monoclonal
13                  antibody;

14                  incubating the secreted monoclonal antibody with the first removeable capture
                    substrate to produce a bound antibody;
15
                    exposing a first fluid volume comprising the antigen in fluid communication
16                  with the bound antibody.
17                  determining whether the bound antibody binds the antigen; and
18
                    lysing the single APC and capturing the nucelic acids of the single APC on a
19                  second removeable capture substrate.

20          290.    On information and belief, the use of the Accused Products and Services includes

21 assaying a secreted monoclonal antibody produced by a single APC and an antigen. (See e.g., ¶¶ 36-
22 59.)
23
            291.    On information and belief, the use of theAccused Products and Services includes
24
     retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid wall,
25
     and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
26
27
28

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 1          292.    On information and belief, the use of the Accused Products and Services includes
 2 incubating the single APC within the chamber to produce a secreted monoclonal antibody, or an
 3
     equivalent thereof. (See e.g., ¶¶ 36-59.)
 4
            293.    On information and belief, the use of the Accused Products and Services includes
 5
     exposing the secreted monoclonal antibody to a first removeable capture substrate, wherein first the
 6
     removeable capture substrate is in fluid communication with the secreted monoclonal antibody and
 7
 8 wherein the first removeable capture substrate is capable of binding the secreted monoclonal antibody,
 9 or an equivalent thereof . (See e.g., ¶¶ 36-59.)
10          294.    On information and belief, the use of the Accused Products and Services includes
11
     incubating the secreted monoclonal antibody with the first removeable capture substrate to produce a
12
     bound antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
13
            295.    On information and belief, the use of the Accused Products and Services includes
14
15 exposing a first fluid volume comprising the antigen in fluid communication with the bound antibody,
16 or an equivalent thereof. (See e.g., ¶¶ 36-59.)
17          296.    On information and belief, the use of the Accused Products and Services includes
18 determining whether the bound antibody binds the antigen, or an equivalent thereof. (See e.g., ¶¶ 36-
19
     59.)
20
            297.    On information and belief, the use of the Accused Products and Services includes
21
     lysing the single APC and capturing the nucleic acids of the single APC on a second removeable
22
23 capture substrate, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
24          298.    Defendant also indirectly infringes the claims of the ’378 patent by inducing
25 infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to infringement pursuant to 35 U.S.C.
26
     § 271(c).
27
28

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 1          299.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically
 2 intends to induce infringement of the ’378 patent by its customers and users of the Accused Products
 3
     and Services and has had knowledge that its acts will cause infringement or is willfully blind to the
 4
     possibility that its acts will cause infringement.
 5
            300.    Defendant has known of the ’378 patent at least as of the date of the original Complaint
 6
     filed on September 16, 2020 (No. 20-cv-01230, D.I. 1 (D. Del. Sept. 16, 2020), as well as by virtue of
 7
 8 inventor Singhal. On information and belief, Defendant’s customers directly infringe the ’378 patent.
 9          301.    On information and belief, Defendant specifically intends for its customers to infringe
10 the ’378 patent. Defendant encourages infringement by its customers at least by offering to sell and
11
     selling the Accused Products and Services and providing instructions to users on how to use the
12
     Accused Products and Services, which directly infringes the ’378 patent.
13
            302.    On information and belief, despite Defendant’s knowledge of the ’378 patent and
14
15 knowledge that its customers will necessarily infringe the ’378 patent when the Accused Products and
16 Services are used as instructed, Defendant encourages infringement.
17          303.    Defendant also contributes to infringement of the ’378 patent by its customers in
18 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
19
     Accused Products and Services within the United States knowing that it constitutes a material part of
20
     the claimed inventions, knowing that the Accused Products and Services are especially made or
21
     especially adapted for use in infringing the ’378 patent, and knowing that the Accused Products and
22
23 Services are not a staple article or commodity of commerce suitable for substantial non -infringing use.
24          304.    Defendant commits all the above acts of infringement without license or authorization.
25          305.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
26
     things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original Complaint
27
     filed on September 16, 2020 (No. 20-cv-01230, D.I. 1 (D. Del. Sept. 16, 2020).
28

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 1          306.     Defendant has had knowledge of the ’378 patent and the application from which it
 2 issued, including the published application with substantially identical claims.
 3
            307.     As a result of Defendant’s infringement of the ’378 patent, Plaintiffs have suffered
 4
     damages and will continue to suffer damages.
 5
            308.     On information and belief, the infringement of the ’378 patent by Defendant is willful.
 6
     Defendant has had knowledge that the Accused Products and Services are covered by the ’378 patent.
 7
 8 On information and belief, Defendant, with assistance from inventor Singhal, copied the ’378 patent
 9 despite knowing that the Accused Products and Services are covered by the ’378 patent. Defendant
10 has thus sold the Accused Products and Services knowing of the risk of infringement and/or in view of
11
     a risk of infringement that was sufficiently obvious that it should have been known to Defendant.
12
     Despite this risk, Defendant deliberately infringes in a wanton, malicious, and egregious manner, with
13
     reckless disregard for Plaintiffs’ patent rights. Thus, Defendant’s infringing actions are consciously
14
15 wrongful, entitling Plaintiffs to increased damages under 35 U.S.C. § 284.
16          309.     Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further

17 infringement. Defendant’s wrongful conduct will cause Plaintiffs to suffer irreparable harm resulting
18 from the loss of its lawful patent right to exclude others from making, using selling, offering to sell,
19
     and/or importing Plaintiffs’ patented inventions. On information and belief, Defendant will continue
20
     to infringe the ’378 patent unless permanently enjoined by the Court.
21
                                          COUNT XII
22                              INFRINGEMENT OF THE ’768 PATENT
23          310.     The allegations in the preceding paragraphs are incorporated by reference as if fully set
24
     forth herein.
25
            311.     Defendant has directly infringed, and continues to directly infringe, at least claim 1 of
26
     the ’768 patent by making, using, offering for sale, selling, and/or importing the Accused Products and
27
28 Services into the United States.

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 1          312.    The use of the Accused Products and Services meets every limitation of at least claim 1
 2 and Defendant directly infringes at least claim 1 when using the Accused Products and Services in
 3
     violation of 35 U.S.C. § 271(a).
 4
            313.    Claim 1 of the ’768 patent recites:
 5
                    1. A method of assaying for a binding interaction between a secreted monoclonal
 6                      antibody produced by a single antibody producing cell (APC) and an antigen, the
                        method comprising:
 7
                    retaining the single APC within a chamber having a volume of from 100 pL to 100 nL,
 8                       a solid wall, and an aperture that defines an opening of the chamber;
 9                  incubating the single APC within the chamber to produce a secreted monoclonal
                        antibody;
10
                    exposing the secreted monoclonal antibody to a first removeable capture substrate
11                      bound to an antigen, wherein the antigen is capable of capturing the secreted
                        monoclonal antibody,
12
                    incubating the secreted monoclonal antibody with the first removeable capture
13                      substrate to produce a bound antibody;
                    measuring a binding interaction between the bound antibody and the antigen; and
14
                    lysing the single APC and capturing the nucleic acids of the single APC on the
15                       removeable capture substrate.
16          314.    On information and belief, the use of the Accused Products and Services includes
17
     assaying for a binding interaction between a secreted monoclonal antibody produced by a single
18
     antibody producing cell (APC) and an antigen. (See e.g., ¶¶ 36-59.)
19
            315.    On information and belief, the use of the Accused Products and Services includes
20
21 retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid wall,
22 and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
23          316.    On information and belief, the use of the Accused Products and Services includes
24
     incubating the single APC within the chamber to produce a secreted monoclonal antibody, or an
25
     equivalent thereof. (See e.g., ¶¶ 36-59.)
26
            317.    On information and belief, the use of the Accused Products and Services includes
27
     exposing the secreted monoclonal antibody to a first removeable capture substrate bound to an
28

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 1 antigen, wherein the antigen is capable of capturing the secreted monoclonal antibody, or an
 2 equivalent thereof . (See e.g., ¶¶ 36-59.)
 3
            318.    On information and belief, the use of the Accused Products and Services includes
 4
     incubating the secreted monoclonal antibody with the first removeable capture substrate to produce a
 5
     bound antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 6
            319.    On information and belief, the use of the Accused Products and Services includes
 7
 8 measuring a binding interaction between the bound antibody and the antigen, or an equivalent thereof.
 9 (See e.g., ¶¶ 36-59.)
10          320.    On information and belief, the use of the Accused Products and Services includes
11
     lysing the single APC and captures the nucleic acids of the single APC on the removeable capture
12
     substrate, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
13
            321.    Defendant also has indirectly infringed and continues to indirectly infringe the claims
14
15 of the ’768 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to
16 infringement pursuant to 35 U.S.C. § 271(c).
17          322.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically
18 intended to induce infringement of the ’768 patent by its customers and users of the Accused Products
19
     and Services and had knowledge that its acts would cause infringement or was willfully blind to the
20
     possibility that its acts would cause infringement.
21
            323.    Defendant knew of the ’768 patent at least as of its date of its issuance by virtue of
22
23 inventor Singhal. Defendant also knew of the ’768 patent since no later than the original Complaint
24 filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020). On information and
25 belief, Defendant’s customers directly infringe the ’768 patent.
26
            324.    On information and belief, Defendant specifically intends for its customers to infringe
27
     the ’768 patent. Defendant encourages infringement by its customers at least by offering to sell and
28

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 1 selling the Accused Products and Services and providing instructions to users on how to use the
 2 Accused Products and Services, which directly infringes the ’768 patent.
 3
            325.    On information and belief, despite Defendant’s knowledge of the ’768 patent and
 4
     knowledge that its customers will necessarily infringe the ’768 patent when the Accused Products and
 5
     Services are used as instructed, Defendant continues to encourage infringement.
 6
            326.    Defendant also contributes to infringement of the ’768 patent by its customers in
 7
 8 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
 9 Accused Products and Services within the United States knowing that it constitutes a material part of
10 the claimed inventions, knowing that the Accused Products and Services are especially made or
11
     especially adapted for use in infringing the ’768 patent, and knowing that the Accused Products and
12
     Services are not a staple article or commodity of commerce suitable for substantial non-infringing use.
13
            327.    Defendant has committed and continues to commit all the above acts of infringement
14
15 without license or authorization.
16          328.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other

17 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original Complaint
18 filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020).
19
            329.    Defendant has had knowledge of the ’768 patent and the application from w hich it
20
     issued, including the published application with substantially identical claims.
21
            330.    As a result of Defendant’s infringement of the ’768 patent, Plaintiffs have suffered
22
23 damages and will continue to suffer damages.
24          331.    On information and belief, the infringement of the ’768 patent by Defendant has been
25 and continues to be willful. Defendant has had knowledge that the Accused Products and Services are
26
     covered by the ’768 patent. On information and belief, Defendant, with assistance from inventor
27
     Singhal, copied the ’768 patent despite knowing that the Accused Products and Services are covered
28

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 1 by the ’768 patent. Defendant has thus sold the Accused Products and Services knowing of the risk of
 2 infringement and/or in view of a risk of infringement that was sufficiently obvious that it should have
 3
     been known to Defendant. Despite this risk, Defendant has deliberately continued to infringe in a
 4
     wanton, malicious, and egregious manner, with reckless disregard for Plaintiffs’ patent rights. Thus,
 5
     Defendant’s infringing actions have been and continue to be consciously wrongful, entitling Plaintiffs
 6
     to increased damages under 35 U.S.C. § 284.
 7
 8          332.     Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further

 9 infringement. Defendant’s wrongful conduct has caused and will continue to cause Plaintiffs to suffer
10 irreparable harm resulting from the loss of its lawful patent right to exclude others from making, using
11
     selling, offering to sell, and/or importing Plaintiffs’ patented inventions. On information and belief,
12
     Defendant will continue to infringe the ’768 patent unless permanently enjoined by the Court.
13
                                          COUNT XIII
14                              INFRINGEMENT OF THE ’270 PATENT
15          333.     The allegations in the preceding paragraphs are incorporated by reference as if fully set
16
     forth herein.
17
            334.     Defendant has directly infringed, and continues to directly infringe, at least claim 1 of
18
     the ’270 patent by making, using, offering for sale, selling, and/or importing the Accused Products and
19
     Services into the United States.
20
21          335.     The use of the Accused Products and Services meets every limitation of at least claim 1

22 of the ’270 patent. Accordingly, Defendant’s use of the Accused Products and Services directly
23 infringes the ’270 patent in violation of 35 U.S.C. § 271(a).
24
            336.     Claim 1 of the ’270 patent recites:
25
                     1. A method for culturing single cells, comprising:
26
                     introducing a population of cells via a single introduction port into a microfluidic
27                        device comprising a 1,600 to 20,000 of microfluidic chambers, wherein each
                          microfluidic chamber comprises an inlet, the single introduction port is in fluid
28

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 1                       communication with a flow channel that is in fluid communication with the inlets
                         of the microfluidic chambers,
 2
                    wherein single cells of the population are retained in different microfluidic chambers,
 3                     and wherein the cells are transported via the introduction port and flow channel
                       into the different microfluidic chambers,
 4
                    providing a cell culture medium to the plurality of microfluidic chambers via the flow
 5                      channel and the inlets of the microfluidic chambers,

 6                  exchanging the cell culture medium in the microfluidic chambers via the flow channel
                        and the inlets of the microfluidic chambers, to create a plurality of individual
 7                      clonal cell populations, wherein the individual clonal cell populations are retained
                        in the same microfluidic chamber as their respective parental cell, thereby
 8                      culturing the single cells.
 9          337.    On information and belief, the use of the Accused Products and Services includes
10
     culturing single cells. (See e.g., ¶¶ 36-59.)
11
            338.    On information and belief, the use of the Accused Products and Services includes
12
     introducing a population of cells via a single introduction port into a microfluidic device comprising
13
     1,600 to 20,000 microfluidic chambers, wherein each microfluidic chamber comprises an inlet, the
14
15 single introduction port is in fluid communication with a flow channel that is in fluid communication
16 with the inlets of the microfluidic chambers, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
17          339.    On information and belief, the use of the Accused Products and Services includes
18
     single cells of the population retained in different microfluidic chambers, and wherein the cells are
19
     transported via the introduction port and flow channel into the different microfluidic chambers, or an
20
     equivalent thereof. (See e.g., ¶¶ 36-59.)
21
22          340.    On information and belief, the use of the Accused Products and Services includes

23 providing a cell culture medium to the plurality of microfluidic chambers via the flow channel and the
24 inlets of the microfluidic chambers, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
25          341.    On information and belief, the use of the Accused Products and Services includes
26
     exchanging the cell culture medium in the microfluidic chambers via the flow channel and the inlets
27
     of the microfluidic chambers, to create a plurality of individual clonal cell populations, wherein the
28

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 1 individual clonal cell populations are retained in the same microfluidic chamber as their respective
 2 parental cell, thereby culturing the single cells, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 3
            342.    Defendant also has indirectly infringed and continues to indirectly infringe the claims
 4
     of the ’270 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to
 5
     infringement pursuant to 35 U.S.C. § 271(c).
 6
            343.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically
 7
 8 intended to induce infringement of the ’270 patent by its customers and users of th e Accused Products
 9 and Services and had knowledge that its acts would cause infringement or was willfully blind to the
10 possibility that its acts would cause infringement.
11
            344.    Defendant knew of the ’270 patent at least as of its date of its issuance by virtue of
12
     inventor Singhal. Defendant also knew of the ’270 patent since no later than the original Complaint
13
     filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020). On information and
14
15 belief, Defendant’s customers directly infringe the ’270 patent.
16          345.    On information and belief, Defendant specifically intends for customers to infringe the

17 ’270 patent. Defendant encourages infringement by customers at least by offering to sell and selling
18 the Accused Products and Services and providing instructions on how to use the Accused Products
19
     and Services, which directly infringes the ’270 patent.
20
            346.    On information and belief, despite Defendant’s knowledge of the ’270 patent and
21
     knowledge that its customers will necessarily infringe the ’270 patent when the Accused Products and
22
23 Services are used as instructed, Defendant continues to encourage infringement.
24          347.    Defendant also contributes to infringement of the ’270 patent by its customers in
25 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
26
     Accused Products and Services within the United States knowing that it constitutes a material part of
27
     the claimed inventions, knowing that the Accused Products and Services are especially made or
28

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 1 especially adapted for use in infringing the ’270 patent, and knowing that the Accused Products and
 2 Services are not a staple article or commodity of commerce suitable for substantial non-infringing use.
 3
            348.    Defendant has committed and continues to commit all the above acts of infringement
 4
     without license or authorization.
 5
            349.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
 6
     things, giving actual notice to Defendant by the original Complaint filed on August 25, 2020 (No. 20-
 7
 8 cv-01116, D.I. 1 (D. Del. Aug. 25, 2020).
 9          350.    Defendant has knowledge of the ’270 patent and the application from which it issued,
10 including the published application with substantially identical claims.
11
            351.    As a result of Defendant’s infringement of the ’270 patent, Plaintiffs have suffered
12
     damages and will continue to suffer damages.
13
            352.    On information and belief, the infringement of the ’270 Patent by Defendant is willful.
14
15 Defendant has had knowledge that the use of the Accused Products and Services are covered by the
16 ’270 patent. On information and belief, Defendant, with assistance from inventor Singhal, copied the
17 ’270 patent despite knowing that the Accused Products and Services are covered by the ’270 patent.
18 Defendant has thus sold the Accused Products and Services knowing of the risk of inf ringement
19
     and/or in view of a risk of infringement that was sufficiently obvious that it should have been known
20
     to Defendant. Despite this risk, Defendant has deliberately continued to infringe in a wanton,
21
     malicious, and egregious manner, with reckless disregard for Plaintiffs’ patent rights. Thus,
22
23 Defendant’s infringing actions have been and continue to be consciously wrongful, entitling Plaintiffs
24 to increased damages under 35 U.S.C. § 284.
25          353.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further
26
     infringement. Defendant’s wrongful conduct has caused and will continue to cause Plaintiffs to suffer
27
     irreparable harm resulting from the loss of its lawful patent right to exclude others from making, using
28

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 1 selling, offering to sell, and/or importing Plaintiffs’ patented inventions. On information and belief,
 2 Defendant will continue to infringe the ’270 patent unless permanently enjoined by the Court.
 3
                                         COUNT XIV
 4                             INFRINGEMENT OF THE ’737 PATENT

 5          354.    The allegations in the preceding paragraphs are incorporated by reference as if fully set

 6 forth herein.
 7          355.    Defendant has directly infringed, and continues to directly infringe, at least claim 1 of
 8 the ’737 patent by making, using, offering for sale, selling, and/or importing the Accused Products and
 9
     Services into the United States.
10
            356.    The use of the Accused Products and Services meets every limitation of at least claim 1
11
     and Defendant directly infringes at least claim 1 when using the Accused Products and Services in
12
13 violation of 35 U.S.C. § 271(a).
14          357.    Claim 1 of the ’737 patent recites:
15                  1. A method of assaying for a binding interaction between a secreted monoclonal
                        antibody produced by a single antibody producing cell (APC) and an antigen, the
16
                        method comprising:
17                  retaining the single APC within a chamber having a volume of from 100 pL to 100 nL,
                         a solid wall, and an aperture that defines an opening of the chamber;
18
                    incubating the single APC within the chamber to produce a secreted monoclonal
19                      antibody;
20                  exposing the secreted monoclonal antibody to a first removeable capture substrate,
                        wherein the first removeable capture substrate is in fluid communication with the
21                      secreted monoclonal antibody and wherein the first removeable capture substrate
                        is capable of binding the secreted monoclonal antibody,
22
                    incubating the secreted monoclonal antibody with the removeable capture substrate to
23                      produce a bound antibody;
24                  bringing a first fluid volume comprising the antigen in fluid communication with the
                        bound antibody;
25
                    measuring a binding interaction between the bound antibody and the antigen; and
26                  lysing the single APC and capturing the nucleic acids of the single APC on the
                         removeable capture substrate.
27
28

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 1          358.    On information and belief, the use of the Accused Products and Services includes
 2 assaying for a binding interaction between a secreted monoclonal antibody produced by a single
 3
     antibody producing cell (APC) and an antigen. (See e.g., ¶¶ 36-59.)
 4
            359.    On information and belief, the use of the Accused Products and Services includes
 5
     retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid wall,
 6
     and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 7
 8          360.    On information and belief, the use of the Accused Products and Services includes

 9 incubating the single APC within the chamber to produce a secreted monoclonal antibody, or an
10 equivalent thereof. (See e.g., ¶¶ 36-59.)
11
            361.    On information and belief, the use of the Accused Products and Services includes
12
     exposing the secreted monoclonal antibody to a first removeable capture substrate, wherein the first
13
     removeable capture substrate is in fluid communication with the secreted monoclonal antibody and
14
15 wherein the first removeable capture substrate is capable of binding the secreted monoclonal antibody,
16 or an equivalent thereof. (See e.g., ¶¶ 36-59.)
17          362.    On information and belief, the use of the Accused Products and Services includes
18 incubating the secreted monoclonal antibody with the removeable capture substrate to produce a
19
     bound antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
20
            363.    On information and belief, the use of the Accused Products and Services includes
21
     bringing a first fluid volume comprising the antigen in fluid communication with the bound antibody,
22
23 or an equivalent thereof. (See e.g., ¶¶ 36-59.)
24          364.    On information and belief, the use of the Accused Products and Services includes
25 measuring a binding interaction between the bound antibody and the antigen, or an equivalent thereof.
26
     (See e.g., ¶¶ 36-59.)
27
28

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 1          365.    On information and belief, the use of the Accused Products and Services includes
 2 lysing the single APC and captures the nucleic acids of the single APC on the removeable capture
 3
     substrate, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 4
            366.    Defendant also has indirectly infringed and continues to indirectly infringe the claims
 5
     of the ’737 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to
 6
     infringement pursuant to 35 U.S.C. § 271(c).
 7
 8          367.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically

 9 intended to induce infringement of the ’737 patent by its customers and users of the Accused Products
10 and Services and had knowledge that its acts would cause infringement or was willfully blind to the
11
     possibility that its acts would cause infringement.
12
            368.    Defendant knew of the ’737 patent at least as of its date of its issuance by virtue of
13
     inventor Singhal. Defendant also knew of the ’737 patent since no later than the original Complaint
14
15 filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020). On information and
16 belief, Defendant’s customers directly infringe the ’737 patent.
17          369.    On information and belief, Defendant specifically intends for its customers to infringe
18 the ’737 patent. Defendant encourages infringement by its customers at least by offering to sell and
19
     selling the Accused Products and Services and providing instructions to users on how to use the
20
     Accused Products and Services, which directly infringes the ’737 patent.
21
            370.    On information and belief, despite Defendant’s knowledge of the ’737 patent and
22
23 knowledge that its customers will necessarily infringe the ’737 patent when the Accused Products and
24 Services are used as instructed, Defendant continues to encourage infringement.
25          371.    Defendant also contributes to infringement of the ’737 patent by its customers in
26
     violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
27
     Accused Products and Services within the United States knowing that it constitutes a material part of
28

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 1 the claimed inventions, knowing that the Accused Products and Services are especially made or
 2 especially adapted for use in infringing the ’737 patent, and knowing that the Accused Products and
 3
     Services are not a staple article or commodity of commerce suitable for substantial non-infringing use.
 4
            372.    Defendant has committed and continues to commit all the above acts of infringement
 5
     without license or authorization.
 6
            373.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other
 7
 8 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original Complaint
 9 filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020).
10          374.    Defendant has had knowledge of the ’737 patent and the application from which it
11
     issued, including the published application with substantially identical claims.
12
            375.    As a result of Defendant’s infringement of the ’737 patent, Plaintiffs have suffered
13
     damages and will continue to suffer damages.
14
15          376.    On information and belief, the infringement of the ’737 patent by Defendant has been

16 and continues to be willful. Defendant has had knowledge that the Accused Products and Services are
17 covered by the ’737 patent. On information and belief, Defendant, with assistance from inventor
18 Singhal, copied the ’737 patent despite knowing that the Accused Products and Services are covered
19
     by the ’737 patent. Defendant has thus sold the Accused Products and Services knowing of the risk of
20
     infringement and/or in view of a risk of infringement that was sufficiently obvious that it should have
21
     been known to Defendant. Despite this risk, Defendant has deliberately continued to infringe in a
22
23 wanton, malicious, and egregious manner, with reckless disregard for Plaintiffs’ patent rights. Thus,
24 Defendant’s infringing actions have been and continue to be consciously wrongful, entitling Plaintiffs
25 to increased damages under 35 U.S.C. § 284.
26
            377.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further
27
     infringement. Defendant’s wrongful conduct has caused and will continue to cause Plaintiffs to suffer
28

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 1 irreparable harm resulting from the loss of its lawful patent right to exclude others from making, using
 2 selling, offering to sell, and/or importing Plaintiffs’ patented inventions. On information and belief,
 3
     Defendant will continue to infringe the ’737 patent unless permanently enjoined by the Court.
 4
                                         COUNT XV
 5                             INFRINGEMENT OF THE ’933 PATENT

 6          378.    The allegations in the preceding paragraphs are incorporated by reference as if fully set

 7 forth herein.
 8          379.    Defendant has directly infringed, and continues to directly infringe, at least claim 1 of
 9
     the ’933 patent by making, using, offering for sale, selling, and/or importing the Accused Products and
10
     Services into the United States.
11
            380.    The use of the Accused Products and Services meets every limitation of at least claim 1
12
13 and Defendant directly infringes at least claim 1 when using the Accused Products and Services in
14 violation of 35 U.S.C. § 271(a).
15          381.    Claim 1 of the ’933 patent recites:
16
                    1. A method of assaying for a binding interaction between a secreted monoclonal
17                      antibody produced by a single antibody producing cell (APC) and an antigen, the
                        method comprising:
18
                    retaining the single APC within a chamber having a volume of from 100 pL to 100 nL,
19                       a solid wall, and an aperture that defines an opening of the chamber;
                    incubating the single APC within the chamber to produce a secreted monoclonal
20                      antibody;
21                  exposing the secreted monoclonal antibody to a first removeable capture substrate
                        bound to an antigen, wherein the antigen is capable of capturing the secreted
22                      monoclonal antibody,
23                  incubating the secreted monoclonal antibody with the first removeable capture
                        substrate to produce a bound antibody; and
24
                    measuring a binding interaction between the bound antibody and the antigen.
25
            382.    On information and belief, the use of the Accused Products and Services includes
26
     assaying for a binding interaction between a secreted monoclonal antibody produced by a single
27
     antibody producing cell (APC) and an antigen. (See e.g., ¶¶ 36-59.)
28

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 1          383.    On information and belief, the use of the Accused Products and Services includes
 2 retaining the single APC within a chamber having a volume of from 100 pL to 100 nL, a solid wall,
 3
     and an aperture that defines an opening of the chamber, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
 4
            384.    On information and belief, the use of the Accused Products and Services includes
 5
     incubating the single APC within the chamber to produce a secreted monoclonal antibody, or an
 6
     equivalent thereof. (See e.g., ¶¶ 36-59.)
 7
 8          385.    On information and belief, the use of the Accused Products and Services includes

 9 exposing the secreted monoclonal antibody to a first removeable capture substrate bound to an
10 antigen, wherein the antigen is capable of capturing the secreted monoclonal antibody, or a n
11
     equivalent thereof . (See e.g., ¶¶ 36-59.)
12
            386.    On information and belief, the use of the Accused Products and Services includes
13
     incubating the secreted monoclonal antibody with the first removeable capture substrate to produce a
14
15 bound antibody, or an equivalent thereof. (See e.g., ¶¶ 36-59.)
16          387.    On information and belief, the use of the Accused Products and Services includes

17 measuring a binding interaction between the bound antibody and the antigen, or an equivalent thereof.
18 (See e.g., ¶¶ 36-59.)
19
            388.    Defendant also has indirectly infringed and continues to indirectly infringe the claims
20
     of the ’933 patent by inducing infringement pursuant to 35 U.S.C. § 271(b) and/or contributing to
21
     infringement pursuant to 35 U.S.C. § 271(c).
22
23          389.    On information and belief, in violation of 35 U.S.C. § 271(b), Defendant specifically

24 intended to induce infringement of the ’933 patent by its customers and users of the Accused Products
25 and Services and had knowledge that its acts would cause infringement or was willfully blind to the
26
     possibility that its acts would cause infringement.
27
28

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 1          390.    Defendant knew of the ’933 patent at least as of its date of its issuance by virtue of
 2 inventor Singhal. Defendant also knew of the ’933 patent since no later than the original Complaint
 3
     filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020). On information and
 4
     belief, Defendant’s customers directly infringe the ’933 patent.
 5
            391.    On information and belief, Defendant specifically intends for its customers to infringe
 6
     the ’933 patent. Defendant encourages infringement by its customers at least by offering to sell and
 7
 8 selling the Accused Products and Services and providing instructions to users on how to use the
 9 Accused Products and Services, which directly infringes the ’933 patent.
10          392.    On information and belief, despite Defendant’s knowledge of the ’933 patent and
11
     knowledge that its customers will necessarily infringe the ’933 patent when the Accused Products and
12
     Services are used as instructed, Defendant continues to encourage infringement.
13
            393.    Defendant also contributes to infringement of the ’933 patent by its customers in
14
15 violation of 35 U.S.C. § 271(c). On information and belief, Defendant offers to sell and sells the
16 Accused Products and Services within the United States knowing that it constitutes a material part of
17 the claimed inventions, knowing that the Accused Products and Services are especially made or
18 especially adapted for use in infringing the ’933 patent, and knowing that the Accused Products and
19
     Services are not a staple article or commodity of commerce suitable for substantial non -infringing use.
20
            394.    Defendant has committed and continues to commit all the above acts of infringement
21
     without license or authorization.
22
23          395.    Plaintiffs have complied with the requirements of 35 U.S.C. § 287 by, among other

24 things, giving actual notice to Defendant by, inter alia, AbCellera’s letters and the original Complaint
25 filed on August 25, 2020 (No. 20-cv-01116, D.I. 1 (D. Del. Aug. 25, 2020).
26
            396.    Defendant has had knowledge of the ’933 patent and the application from which it
27
     issued, including the published application with substantially identical claims.
28

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 1           397.    As a result of Defendant’s infringement of the ’933 patent, Plaintiffs have suffered
 2 damages and will continue to suffer damages.
 3
             398.    On information and belief, the infringement of the ’933 patent by Defendant has been
 4
     and continues to be willful. Defendant has had knowledge that the Accused Products and Services are
 5
     covered by the ’933 patent. On information and belief, Defendant, with assistance from inventor
 6
     Singhal, copied the ’933 patent despite knowing that the Accused Products and Services are covered
 7
 8 by the ’933 patent. Defendant has thus sold the Accused Products and Services knowing of the risk of
 9 infringement and/or in view of a risk of infringement that was sufficiently obvious that it should have
10 been known to Defendant. Despite this risk, Defendant has deliberately continued to infringe in a
11
     wanton, malicious, and egregious manner, with reckless disregard for Plaintiffs’ patent rights. Thus,
12
     Defendant’s infringing actions have been and continue to be consciously wrongful, entitling Plaintiffs
13
     to increased damages under 35 U.S.C. § 284.
14
15           399.    Under 35 U.S.C. § 283, Plaintiffs are entitled to a permanent injunction against further

16 infringement. Defendant’s wrongful conduct has caused and will continue to cause Plaintiffs to suffer
17 irreparable harm resulting from the loss of its lawful patent right to exclude others from making, using
18 selling, offering to sell, and/or importing Plaintiffs’ patented inventions. On information and belief,
19
     Defendant will continue to infringe the ’933 patent unless permanently enjoined by the Court.
20
                                                 JURY DEMAND
21
             400.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs respectfully demand a
22
     trial by jury of all issues so triable.
23
24                                             PRAYERS FOR RELIEF

25           WHEREFORE, Plaintiffs request that judgment be entered in favor of Plaintiffs and

26 against Defendant as follows:
27           a.      A judgment that the Patents-in-Suit are directly and indirectly infringed by
28
                     Defendant’s manufacture, offers to sell, sales, or uses of the Accused Products and
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 1             Services within the United States, or importation into the United States, including
 2             without limitation, that practice one more of the inventions claimed in the Patents-
 3
               in-Suit;
 4
         b.    An order permanently enjoining Defendant, its affiliates and subsidiaries, and each
 5
               of its officers, agents, servants, and employees and those acting in privity or
 6
               concert with them, from making, using, offering to sell, selling, or importing
 7
 8             products or processes claimed in any of the claims of the Patents-in-Suit, and from

 9             causing or encouraging others to use, sell, offer for sale, or import products or
10             processes that infringe any claim of the Patents-in-Suit, until after the expiration
11
               dates of the Patents-in-Suit, including any extensions and/or additional periods of
12
               exclusivity to which Plaintiffs are or may become entitled;
13
         c.    An order awarding damages under 35 U.S.C. § 284 in an amount sufficient to
14
15             compensate Plaintiffs for their damages arising from infringement by Defendant,

16             including, but not limited to, lost profits and/or a reasonable royalty (including

17             under 35 U.S.C. § 154(d)), together with pre-judgment and post-judgment interest,
18             and costs;
19
         d.    An order awarding treble damages for willful infringement by Defendant, pursuant
20
               to 35 U.S.C. § 284;
21
         e.    An accounting and/or supplemental damages for all damages occurring after any
22
23             discovery cutoff and through the Court’s decision regarding the imposition of a

24             permanent injunction;
25       f.    A judgment declaring that this case is exceptional and awarding Plaintiffs their
26
               reasonable costs and attorneys’ fees pursuant to 35 U.S.C. § 285; and
27
28

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 1         g.    Such other relief as this Court or a jury may deem proper and just under the
 2               circumstances.
 3
 4
     DATED: October 20, 2023                 QUINN EMANUEL URQUHART & SULLIVAN,
 5                                           LLP

 6                                            By /s/ Eric C. Stops

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27
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 1
 2                                   CERTIFICATE OF SERVICE

 3          I hereby certify that on October 20, 2023 I caused a true and correct copy of the foregoing

 4 to be filed in this Court’s CM/ECF system, which will send notification of such filing to all parties
 5 who have appeared in this matter.
 6
 7 DATED: October 20, 2023
                                                 By /s/ Eric C. Stops
 8
                                                   Eric C. Stops
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